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EFCOA.ELC



                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA



In re                                              : Chapter 13
        Lyndel Toppin
        Debtor                                     :

            Lyndel Toppin                          :Bankruptcy No. 18-13098-MDC
            Plaintiff
                                                   :Adversary No. 18-00137-MDC
            Jewell Williams
            Sheriff of the City of Philadelphia;
            Abdeldayem Hassan
            aka Abdeldyem Hassan                       :Civil No. 21-5144
            Defendants

                       CERTIFICATE OF APPEAL FROM ORDER OF
                   THE BANKRUPTCY JUDGE DATED NOVEMBER 8, 2021
                      ENTERED ON THE DOCKET NOVEMBER 9, 2021

             I, Timothy B. McGrath, Clerk of the U.S. Bankruptcy Court, Eastern District
of Pennsylvania, herewith electronically transmit the record on appeal filed November 18,
2021 and certify that the above proceeding was properly before the Honorable Chief Judge
Magdeline D. Coleman, Bankruptcy Judge.


                                                   For the Court

                                                   Timothy B. McGrath
                                                   Clerk

                                                   By: Virginia S. DeBuvitz
                                                   Deputy Clerk

Counsel of Record

Stephen Matthew Dunne, Esq.
Dunne Law Offices, P.C.
1515 Market Street
Suite 1200
Philadelphia, PA 19102
Counsel for Plaintiff/Appellant
       Case 2:21-cv-05144-WB Document 4-1 Filed 12/16/21 Page 2 of 102




PREDRAG FILIPOVIC                          & PREDRAG FILIPOVIC, ESQ.
I Fight 4 Justice                          1635 Market Street, Suite 1600
1735 Market Street                         Philadelphia, PA 19103
Ste. 3750                                  Attorney for Plaintiff/Appellant
Philadelphia, PA 19103
Counsel for Plaintiff/Appellant

MEGHAN ANNETTE BYRNES
City of Philadelphia
1515 Arch Street
Ste 17-151
Philadelphia, PA 19102
Counsel for Defendant
Jewell Williams

JOSHUA DOMER
City of Philadelphia Law Department
1401 JFK Blvd
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Philadelphia, PA 19102
Counsel for Defendant
Jewell Williams

MEGAN N. HARPER
City of Philadelphia - Law/Revenue Dept.
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Room 580
Philadelphia, PA 19102
Counsel for Defendant
Jewell Williams

DAVID M. OFFEN
The Curtis Center
601 Walnut Street
Suite 160 West
Philadelphia, PA 19106
Counsel for Defendant
Abdeldayem Hassan
aka Abdeldyem Hassan

DAVE P. ADAMS, ESQ.
United States Trustee
200 Chestnut Street
Suite 502
Philadelphia PA 19106

KENNETH E. WEST, ESQ.
Chapter 13 Standing Trustee
1234 Market Street
Suite 1813
Philadelphia, PA 19107
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                                                                                                APPEAL




                                 U.S. Bankruptcy Court
                     Eastern District of Pennsylvania (Philadelphia)
                        Adversary Proceeding #: 18−00137−mdc

Assigned to: Chief Judge Magdeline D. Coleman                  Date Filed: 06/11/18
Lead BK Case: 18−13098
Lead BK Title: Lyndel Toppin
Lead BK Chapter: 13
Demand:
 Nature[s] of Suit: 91 Declaratory judgment
                     72 Injunctive relief −
                        other



Plaintiff
−−−−−−−−−−−−−−−−−−−−−−−
Lyndel Toppin                                   represented by STEPHEN MATTHEW DUNNE
146 S. 62nd Street                                             Dunne Law Offices, P.C.
Philadelphia, PA 19145                                         1515 Market Street
SSN / ITIN: xxx−xx−2550                                        Suite 1200
                                                               Philadelphia, PA 19102
                                                               U.S.A.
                                                               215−551−7109
                                                               Fax : 215−525−9721
                                                               Email: bestcasestephen@gmail.com

                                                              PREDRAG FILIPOVIC
                                                              I Fight 4 Justice
                                                              1735 Market Street
                                                              Ste. 3750
                                                              Philadelphia, PA 19103
                                                              267 265 0520
                                                              Email: pfesq@ifight4justice.com
                                                              TERMINATED: 06/18/2019

                                                              MEGAN N. HARPER
                                                              City of Philadelphia − Law/Revenue Dept.
                                                              1401 JFK Blvd.
                                                              Room 580
                                                              Philadelphia, PA 19102
                                                              215 686 0503
                                                              Email: megan.harper@phila.gov
                                                              TERMINATED: 02/14/2019

                                                              DAVID M. OFFEN
                                                              The Curtis Center
                                                              601 Walnut Street
                                                              Suite 160 West
                                                              Philadelphia, PA 19106
                                                              (215) 625−9600
                                                              Email: dmo160west@gmail.com
                                                              TERMINATED: 02/14/2019



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V.

Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Jewell Williams                                  represented by MEGHAN ANNETTE BYRNES
Sheriff of the City of Philadelphia                             City of Philadelphia
Land Title Building                                             1515 Arch Street
Fifth Floor                                                     Ste 17−151
100 South Broad Street                                          Philadelphia, PA 19102
Philadelphia, PA 19110                                          215−683−5011
                                                                Email: meghan.byrnes@phila.gov

                                                                JOSHUA DOMER
                                                                City of Philadelphia Law Department
                                                                1401 JFK Blvd
                                                                5th Floor
                                                                Philadelphia, PA 19102
                                                                215 686 0519
                                                                Email: joshua.domer@phila.gov

                                                                MEGAN N. HARPER
                                                                (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Abdeldayem Hassan                                represented by STEPHEN MATTHEW DUNNE
309 Barker Avenue                                               (See above for address)
Lansdowne, PA 19050                                             TERMINATED: 02/14/2019
aka Abdeldyem Hassan
                                                                DAVID M. OFFEN
                                                                (See above for address)

 Filing Date           #                                        Docket Text

                           1      Adversary case 18−00137. Complaint by STEPHEN MATTHEW
                                  DUNNE on behalf of Lyndel Toppin against Jewell Williams. Fee
                                  Amount $0 . (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4
                                  Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9
                                  Exhibit I # 10 Exhibit J # 11 Exhibit K # 12 Exhibit L # 13 Exhibit M #
                                  14 Exhibit N) (91 (Declaratory judgment)),(72 (Injunctive relief − other))
 06/11/2018                       (DUNNE, STEPHEN) (Entered: 06/11/2018)

                           2      1 Summons Issued to Plaintiff(s) to be served upon Defendant(s) Jewell
                                  Williams Date Issued 6/12/2018, Answer Due 7/12/2018. (D., Virginia)
 06/12/2018                       (Entered: 06/12/2018)

                           3      Amended Complaint by STEPHEN MATTHEW DUNNE on behalf of
                                  Lyndel Toppin against all defendants. (related document(s)1).
                                  (Attachments: # 1 Exhibit O # 2 Exhibit P) (DUNNE, STEPHEN)
 06/15/2018                       (Entered: 06/15/2018)

                           4      Alias Summons Issued to Plaintiff(s) to be served upon Defendant(s)
                                  Abdeldayem Hassan Date Issued 6/18/2018, Answer Due 7/18/2018. (D.,
 06/18/2018                       Virginia) (Entered: 06/18/2018)

                           5      Answer to Complaint Filed by Abdeldayem Hassan. (Attachments: # 1
 07/18/2018                       Verification)(OFFEN, DAVID) (Entered: 07/18/2018)


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                  6    Notice of Appearance and Request for Notice by MEGAN N. HARPER
                       Filed by MEGAN N. HARPER on behalf of Jewell Williams. (HARPER,
07/19/2018             MEGAN) (Entered: 07/19/2018)

                  7    Answer to Complaint Filed by Jewell Williams. (HARPER, MEGAN)
07/19/2018             (Entered: 07/19/2018)

                  8    Certificate of Service Filed by MEGAN N. HARPER on behalf of Jewell
                       Williams (related document(s)7). (HARPER, MEGAN) (Entered:
07/19/2018             07/19/2018)

                  9    Motion for Judgment on the Pleadings Filed by Jewell Williams
                       Represented by MEGAN N. HARPER (Counsel). (Attachments: # 1
08/15/2018             Proposed Order) (HARPER, MEGAN) (Entered: 08/15/2018)

                  10   Memorandum in Support of Motion for Judgment on the Pleadings Filed
                       by MEGAN N. HARPER on behalf of Jewell Williams (related
08/15/2018             document(s)9). (HARPER, MEGAN) (Entered: 08/15/2018)

                  11   Notice of (related document(s): 9 Motion for Judgment on the Pleadings)
                       Filed by Jewell Williams. Hearing scheduled 9/25/2018 at 10:30 AM at
                       nix2 − Courtroom #2. (Attachments: # 1 Service List)(HARPER,
08/15/2018             MEGAN) (Entered: 08/15/2018)

                  12   Order entered that the parties shall file simultaneous briefs addressing
                       plaintff's right to jury trial on or before 9/19/2018. Re:Complaint filed by
                       Plaintiff Lyndel Toppin (related document(s)1). (D., Virginia) (Entered:
08/20/2018             08/20/2018)

                  13   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 12)). No. of Notices: 4. Notice Date 08/22/2018.
08/22/2018             (Admin.) (Entered: 08/23/2018)

                  14   Motion to Extend time to Time Filed by Abdeldayem Hassan
                       Represented by STEPHEN MATTHEW DUNNE (Counsel).
                       (Attachments: # 1 Proposed Order) (DUNNE, STEPHEN) (Entered:
09/06/2018             09/06/2018)

                  15   Order entered Granting Motion to Extend Time to respond to defendant's
                       Motion for Judgment on the pleadings (Related Doc # 14). Deadline to
09/06/2018             respond is 9/19/2018. (D., Virginia) (Entered: 09/06/2018)

                  16   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 15)). No. of Notices: 4. Notice Date 09/08/2018.
09/08/2018             (Admin.) (Entered: 09/09/2018)

                  17   Reply to Generic Motion filed by Defendant Jewell Williams Filed by
                       Lyndel Toppin (related document(s)9). (Attachments: # 1 Proposed
09/19/2018             Order) (DUNNE, STEPHEN) (Entered: 09/19/2018)

                  18   Memorandum in Opposition to Plaintiff's Demand for Jury Trial Filed by
                       MEGAN N. HARPER on behalf of Jewell Williams (related
                       document(s)12). (Attachments: # 1 Service List) (HARPER, MEGAN)
09/19/2018             (Entered: 09/19/2018)

09/20/2018        19   Motion to Dismiss/Withdraw Document (related document(s): Amended
                       Complaint, Order (Generic), Memorandum in Opposition) PLAINTIFFS
                       MOTION TO WITHDRAW JURY DEMAND Filed by Lyndel Toppin

                                                                                                      3
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                       Represented by STEPHEN MATTHEW DUNNE (Counsel) (related
                       document(s)3, 12, 18). (DUNNE, STEPHEN) (Entered: 09/20/2018)

                  20   Memorandum in Support of Filed by STEPHEN MATTHEW DUNNE
                       on behalf of Lyndel Toppin (related document(s)12). (DUNNE,
09/20/2018             STEPHEN) (Entered: 09/20/2018)

                  21   Hearing Held on 9 Motion for Judgment on the Pleadings Filed by Jewell
                       Williams Represented by MEGAN N. HARPER (Counsel). (related
                       document(s),9). HELD UNDER ADVISEMENT (G., Eileen) (Entered:
09/25/2018             09/25/2018)

                  22   Support Document regarding supplemental authority − In Re Dencklau,
                       158 B.R. 796 (Bankr. ND Iowa 1993) Filed by STEPHEN MATTHEW
                       DUNNE on behalf of Lyndel Toppin (related document(s)9).
09/26/2018             (Attachments: # 1 Exhibit) (DUNNE, STEPHEN) (Entered: 09/26/2018)

                  23   Motion FOR LEAVE TO AMEND ADVERSARY COMPLAINT Filed by
                       Lyndel Toppin Represented by STEPHEN MATTHEW DUNNE
                       (Counsel). (Attachments: # 1 Exhibit A # 2 Proposed Order B) (DUNNE,
09/26/2018             STEPHEN) (Entered: 09/26/2018)

                  24   Notice of (related document(s): 23 Motion FOR LEAVE TO AMEND
                       ADVERSARY COMPLAINT) Filed by Lyndel Toppin. Hearing scheduled
                       10/23/2018 at 10:30 AM at nix2 − Courtroom #2. (DUNNE, STEPHEN)
09/27/2018             (Entered: 09/27/2018)

                  25   Objection to Generic Motion filed by Plaintiff Lyndel Toppin Objection
                       to Motion for Leave to Amend Adversary Complaint Filed by Jewell
                       Williams (related document(s)23). (Attachments: # 1 Service List)
10/10/2018             (HARPER, MEGAN) (Entered: 10/10/2018)

                  26   Supplemental Statement Filed by STEPHEN MATTHEW DUNNE on
                       behalf of Lyndel Toppin (related document(s)23, 25). (DUNNE,
10/22/2018             STEPHEN) (Entered: 10/22/2018)

                  27   Hearing Held on 23 Motion FOR LEAVE TO AMEND ADVERSARY
                       COMPLAINT Filed by Lyndel Toppin Represented by STEPHEN
                       MATTHEW DUNNE (Counsel). UNDER ADVISEMENT IS MOOT.
10/23/2018             Order entered. (D., Virginia) (Entered: 10/23/2018)

                  28   Order entered Granting Motion for Leave to File Second Amended
                       Complaint(Related Doc # 23) . The Plaintiff shall file and serve the
                       Second Amended Complaint substantially in the form attached as exhibit
                       A to the Motion excluding Paragraphs 11 and 13. (D., Virginia) (Entered:
10/23/2018             10/23/2018)

                  29   Amended Complaint Second Amended Complaint by STEPHEN
                       MATTHEW DUNNE on behalf of Lyndel Toppin against Abdeldayem
                       Hassan, Jewell Williams. (related document(s)1). (DUNNE, STEPHEN)
10/24/2018             (Entered: 10/24/2018)

                  30   Exhibit A thru K Filed by STEPHEN MATTHEW DUNNE on behalf of
                       Lyndel Toppin (related document(s)29). (Attachments: # 1 Exhibit A # 2
                       Exhibit B1 # 3 Exhibit B2 # 4 Exhibit B3 # 5 Exhibit B4 # 6 Exhibit C #
                       7 Exhibit D # 8 Exhibit E # 9 Exhibit F # 10 Exhibit G # 11 Exhibit H #
                       12 Exhibit I # 13 Exhibit J # 14 Exhibit K) (DUNNE, STEPHEN)
10/24/2018             (Entered: 10/24/2018)


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                  31   Exhibit L thru Z Filed by STEPHEN MATTHEW DUNNE on behalf of
                       Lyndel Toppin (related document(s)29). (Attachments: # 1 Exhibit L # 2
                       Exhibit M # 3 Exhibit N # 4 Exhibit O # 5 Exhibit P # 6 Exhibit Q # 7
                       Exhibit R # 8 Exhibit S # 9 Exhibit T # 10 Exhibit U # 11 Exhibit V # 12
                       Exhibit X # 13 Exhibit Y # 14 Exhibit Z) (DUNNE, STEPHEN)
10/24/2018             (Entered: 10/24/2018)

                  32   Praecipe to Re−Issue Summons Filed by STEPHEN MATTHEW
                       DUNNE on behalf of Lyndel Toppin. (DUNNE, STEPHEN) (Entered:
10/24/2018             10/24/2018)

                  33   1 Alias Summons Issued to Plaintiff(s) to be served upon Defendant(s)
                       Abdeldayem Hassan Date Issued 10/25/2018, Answer Due 11/24/2018;
                       Jewell Williams Date Issued 10/25/2018, Answer Due 11/24/2018. (D.,
10/25/2018             Virginia) (Entered: 10/25/2018)

                  34   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 28)). No. of Notices: 1. Notice Date 10/25/2018.
10/25/2018             (Admin.) (Entered: 10/26/2018)

                  35   Summons Service Executed on Jewell Williams 10/26/2018 . (DUNNE,
10/26/2018             STEPHEN) (Entered: 10/26/2018)

                  36   Summons Service Executed on Abdeldayem Hassan 10/26/2018 .
10/26/2018             (DUNNE, STEPHEN) (Entered: 10/26/2018)

                  37   Answer to Complaint Answer to Second Amended Complaint Filed by
                       Jewell Williams. (Attachments: # 1 Service List)(HARPER, MEGAN)
11/21/2018             (Entered: 11/21/2018)

                  38   Order entered that the plaintiff shall take appropriate action to prosecute
                       this proceeding (e.g. a Motion under Fed. R. Bankr. P. 7055 (a) on or
                       before 12/28/2018. Upon failure to comply with Paragraph 1 of this
                       Order, the claims against Hassan may be dismissed for lack of
                       prosecution without further notice or opportunity for a hearing
                       Re:Complaint filed by Plaintiff Lyndel Toppin (related document(s)1).
12/13/2018             (D., Virginia) (Entered: 12/13/2018)

                  39   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 38)). No. of Notices: 2. Notice Date 12/15/2018.
12/15/2018             (Admin.) (Entered: 12/16/2018)

                  40   Answer to Complaint Filed by Abdeldayem Hassan. (OFFEN, DAVID)
12/21/2018             (Entered: 12/21/2018)

                  41   Certificate of Service Filed by DAVID M. OFFEN on behalf of
                       Abdeldayem Hassan (related document(s)40). (OFFEN, DAVID)
12/21/2018             (Entered: 12/21/2018)

                  42   Pre−Trial Order. Pre−Trial Conference scheduled 7/17/2019 at 11:00 AM
                       at nix2 − Courtroom #2. Joint Pre−Trial Statement due by 6/30/2019.
                       Motions Due by 6/30/2019. All motions to amend the pleadings or for
                       summary judgment shall be filed on or before May 3, 2019. Discovery
                       due by 4/3/2019. Joint Statement due by 1/24/2019. (J., Christina)
01/03/2019             (Entered: 01/03/2019)

01/05/2019        43   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 42)). No. of Notices: 1. Notice Date 01/05/2019.


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                       (Admin.) (Entered: 01/06/2019)

                  44   Proposed Order Re: Pretrial Scheduling Order Filed by MEGAN N.
                       HARPER, DAVID M. OFFEN, STEPHEN MATTHEW DUNNE on
                       behalf of Lyndel Toppin (related document(s)42). (DUNNE, STEPHEN)
02/09/2019             (Entered: 02/09/2019)

                  45   Mediation declined Filed by STEPHEN MATTHEW DUNNE on behalf
02/09/2019             of Lyndel Toppin. (DUNNE, STEPHEN) (Entered: 02/09/2019)

                  46   Pre−Trial Scheduling Order. Pre−Trial Hearing scheduled 9/18/2019 at
                       11:00 AM at nix2 − Courtroom #2. Motions Due by 8/29/2019.
                       Discovery due by 6/2/2019. Joint Statement due by 8/29/2019. (D.,
02/14/2019             Virginia) (Entered: 02/14/2019)

                  47   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 46)). No. of Notices: 1. Notice Date 02/16/2019.
02/16/2019             (Admin.) (Entered: 02/17/2019)

                  48   Motion for Judgment on the Pleadings Filed by Lyndel Toppin
                       Represented by STEPHEN MATTHEW DUNNE (Counsel).
                       (Attachments: # 1 Exhibit Opening Brief # 2 Proposed Order Exhibit A #
05/24/2019             3 Exhibit Declaration) (DUNNE, STEPHEN) (Entered: 05/24/2019)

                  49   Notice of (related document(s): 48 Motion for Judgment on the
                       Pleadings) Filed by Lyndel Toppin. Hearing scheduled 6/18/2019 at
                       10:30 AM at nix2 − Courtroom #2. (DUNNE, STEPHEN) (Entered:
05/24/2019             05/24/2019)

                  50   Objection to Generic Motion filed by Plaintiff Lyndel Toppin Filed by
                       Jewell Williams (related document(s)48). (Attachments: # 1 Exhibit A #
06/12/2019             2 Service List) (HARPER, MEGAN) (Entered: 06/12/2019)

                  51   Response to Generic Motion filed by Plaintiff Lyndel Toppin and
                       Certificate of Service Filed by Abdeldayem Hassan (related
                       document(s)48). (Attachments: # 1 Proposed Order # 2 Certificate of
06/17/2019             Service) (OFFEN, DAVID) (Entered: 06/17/2019)

                  52   Notice of Appearance and Request for Notice by STEPHEN MATTHEW
                       DUNNE, PREDRAG FILIPOVIC Filed by STEPHEN MATTHEW
                       DUNNE, PREDRAG FILIPOVIC on behalf of Lyndel Toppin.
06/18/2019             (FILIPOVIC, PREDRAG) (Entered: 06/18/2019)

                  53   Hearing Held on 48 Motion for Judgment on the Pleadings Filed by
                       Lyndel Toppin Represented by STEPHEN MATTHEW DUNNE
                       (Counsel). (related document(s),48)Scheduling Order to be submitted by
06/18/2019             6/25/19. (G., Eileen) (Entered: 06/18/2019)

                  54   Agreed Withdrawal of Appearance of Predrag Filipovic and entry of
                       appearance of Filed by STEPHEN MATTHEW DUNNE, PREDRAG
                       FILIPOVIC on behalf of Lyndel Toppin. (FILIPOVIC, PREDRAG)
06/18/2019             (Entered: 06/18/2019)

                  55   Proposed Order Re: Pretrial Scheduling Order Filed by STEPHEN
                       MATTHEW DUNNE on behalf of Lyndel Toppin (related
07/16/2019             document(s)46). (DUNNE, STEPHEN) (Entered: 07/16/2019)

07/18/2019        56

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                       Pre−Trial Scheduling Order. Pre−Trial Conference scheduled 3/25/2020
                       at 11:00 AM at nix2 − Courtroom #2. Joint Pre−Trial Statement due by
                       2/28/2020. Motions to amend the pleadings or for summary judgment
                       due by 12/26/19. Motions in limine. Due by 2/28/2020. Discovery due by
                       11/26/2019. (J., Randi) (Entered: 07/18/2019)

                  57   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 56)). No. of Notices: 2. Notice Date 07/20/2019.
07/20/2019             (Admin.) (Entered: 07/21/2019)

                  58   Notice of Appearance and Request for Notice by JOSHUA DOMER
                       Filed by JOSHUA DOMER on behalf of Jewell Williams. (DOMER,
10/30/2019             JOSHUA) (Entered: 10/30/2019)

                  59   Motion to Compel Filed by Lyndel Toppin Represented by STEPHEN
                       MATTHEW DUNNE (Counsel). (Attachments: # 1 Proposed Order # 2
                       Exhibit A # 3 Exhibit B # 4 Exhibit C # 5 Service List) (DUNNE,
11/26/2019             STEPHEN) (Entered: 11/26/2019)

                  60   Motion to Compel Filed by Lyndel Toppin Represented by STEPHEN
                       MATTHEW DUNNE (Counsel). (Attachments: # 1 Exhibit A # 2
                       Exhibit B # 3 Proposed Order) (DUNNE, STEPHEN) (Entered:
11/26/2019             11/26/2019)

                  61   Notice of (related document(s): 60 Motion to Compel ) Filed by Lyndel
                       Toppin. Hearing scheduled 1/7/2020 at 10:30 AM at nix2 − Courtroom
11/26/2019             #2. (DUNNE, STEPHEN) (Entered: 11/26/2019)

                  62   Notice of (related document(s): 59 Motion to Compel ) Filed by Lyndel
                       Toppin. Hearing scheduled 1/7/2020 at 10:30 AM at nix2 − Courtroom
11/26/2019             #2. (DUNNE, STEPHEN) (Entered: 11/26/2019)

                  63   Emergency Motion to Expedite Hearing (related documents Motion to
                       Compel, Motion to Compel) Filed by Lyndel Toppin Represented by
                       STEPHEN MATTHEW DUNNE (Counsel) (related document(s)59, 60).
                       (Attachments: # 1 Proposed Order # 2 Exhibit A # 3 Exhibit B # 4
                       Exhibit C # 5 Exhibit D # 6 Exhibit E) (DUNNE, STEPHEN) (Entered:
12/03/2019             12/03/2019)

                  64   Certificate of Service Filed by STEPHEN MATTHEW DUNNE on
                       behalf of Lyndel Toppin (related document(s)63). (DUNNE, STEPHEN)
12/03/2019             (Entered: 12/03/2019)

                  65   Order entered Denying Motion Expedite Hearing (Related Doc # 63) In
                       Re: (63 Motion to Expedite Hearing) . The movant may schedule a
                       hearing on the Motion pursuant to L.B.R. 5070−1 and 9014−3. (D.,
12/05/2019             Virginia) (Entered: 12/05/2019)

                  66   Certificate of Service Filed by STEPHEN MATTHEW DUNNE on
                       behalf of Lyndel Toppin (related document(s)60). (DUNNE, STEPHEN)
12/05/2019             (Entered: 12/05/2019)

                  67   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 65)). No. of Notices: 4. Notice Date 12/07/2019.
12/07/2019             (Admin.) (Entered: 12/08/2019)

12/16/2019        68   Response to Motion to Compel filed by Plaintiff Lyndel Toppin Filed by
                       Jewell Williams (related document(s)59). (Attachments: # 1 Proposed


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                        Order # 2 Certificate of Service) (DOMER, JOSHUA) (Entered:
                        12/16/2019)

                   69   Response to Motion to Compel filed by Plaintiff Lyndel Toppin Filed by
                        Jewell Williams (related document(s)60). (Attachments: # 1 Exhibit A −
                        Notice of Deposition with Certificate of Service # 2 Exhibit B − May 15
                        Letter # 3 Proposed Order # 4 Certificate of Service) (DOMER,
12/16/2019              JOSHUA) (Entered: 12/16/2019)

                   70   Returned Mail, addressed to Lyndel Toppin re: Order on Motion to
                        Expedite Hearing, has been returned from the BNC (related
12/17/2019              document(s)65). (W., Belinda) (Entered: 12/26/2019)

                   71   Motion For Summary Judgment Filed by Jewell Williams Represented
                        by MEGAN N. HARPER (Counsel). (Attachments: # 1 Proposed Order #
12/26/2019              2 Service List) (HARPER, MEGAN) (Entered: 12/26/2019)

                   72   Memorandum in Support of Motion for Summary Judgment Filed by
                        MEGAN N. HARPER on behalf of Jewell Williams (related
                        document(s)71). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C
                        # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9
                        Exhibit I # 10 Exhibit J # 11 Exhibit K # 12 Exhibit L # 13 Exhibit M #
12/26/2019              14 Exhibit N) (HARPER, MEGAN) (Entered: 12/26/2019)

                   73   Notice of (related document(s): 71 Motion For Summary Judgment )
                        Filed by Jewell Williams. A hearing on the motion is scheduled to be
                        held on February 6, 2020 at 11:00AM in Courtroom #2(Attachments: # 1
                        Service List)(DOMER, JOSHUA) Modified on 12/30/2019 (D.,
12/30/2019              Virginia). **Inserted the hearing information (Entered: 12/30/2019)

                   74   Hearing Set 71 Motion For Summary Judgment Filed by Jewell Williams
                        Represented by MEGAN N. HARPER (Counsel). Hearing scheduled
                        2/6/2020 at 11:00 AM at nix2 − Courtroom #2. (D., Virginia) (Entered:
12/30/2019              12/30/2019)

                   75   Hearing Continued on 59 Motion to Compel Filed by Lyndel Toppin
                        Represented by STEPHEN MATTHEW DUNNE (Counsel).. Hearing
                        scheduled 1/28/2020 at 10:30 AM at nix2 − Courtroom #2. (G., Eileen)
01/07/2020              (Entered: 01/07/2020)

                   76   Hearing Continued on 60 Motion to Compel Filed by Lyndel Toppin
                        Represented by STEPHEN MATTHEW DUNNE (Counsel). . Hearing
                        scheduled 1/28/2020 at 10:30 AM at nix2 − Courtroom #2. (G., Eileen)
01/07/2020              (Entered: 01/07/2020)

                   77   Motion For Sanctions Filed by Lyndel Toppin Represented by
                        STEPHEN MATTHEW DUNNE (Counsel). (Attachments: # 1 Proposed
                        Order # 2 Exhibit A # 3 Exhibit B # 4 Exhibit C # 5 Exhibit D # 6
                        Exhibit E # 7 Exhibit F # 8 Exhibit G) (DUNNE, STEPHEN) (Entered:
01/15/2020              01/15/2020)

                   78   Certificate of Service Filed by STEPHEN MATTHEW DUNNE on
                        behalf of Lyndel Toppin (related document(s)77). (DUNNE, STEPHEN)
01/15/2020              (Entered: 01/15/2020)

01/16/2020         79   Motion to Expedite Hearing (related documents Motion for Sanctions)
                        Filed by Lyndel Toppin Represented by STEPHEN MATTHEW
                        DUNNE (Counsel) (related document(s)77). (Attachments: # 1 Proposed


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                        Order) (DUNNE, STEPHEN) (Entered: 01/16/2020)

                   80   Certificate of Service Filed by STEPHEN MATTHEW DUNNE on
                        behalf of Lyndel Toppin (related document(s)79). (DUNNE, STEPHEN)
01/16/2020              (Entered: 01/16/2020)

                   81   Amended Notice of (related document(s): 71 Motion For Summary
                        Judgment ) Filed by Jewell Williams. (Attachments: # 1 Service
01/16/2020              List)(DOMER, JOSHUA) (Entered: 01/16/2020)

                   82   Order entered Granting Motion Expedite Hearing (Related Doc # 79) .
                        Hearing scheduled 1/28/2020 at 10:30 AM at nix2 − Courtroom #2. (D.,
01/16/2020              Virginia) (Entered: 01/16/2020)

                   83   **INCORRECT MOTION**Joint Motion to Extend Time to File
                        Response to Defendant's Summary Judgment Motion Filed by Lyndel
                        Toppin Represented by MEGAN N. HARPER, STEPHEN MATTHEW
                        DUNNE (Counsel). (Attachments: # 1 Proposed Order) (DUNNE,
01/16/2020              STEPHEN) Modified on 1/17/2020 (J., Randi). (Entered: 01/16/2020)

                   84   Document in re: Exhibit A Filed by STEPHEN MATTHEW DUNNE on
                        behalf of Lyndel Toppin (related document(s)83). (DUNNE, STEPHEN)
01/16/2020              (Entered: 01/16/2020)

                   85   Document in re: Exhibit B Filed by STEPHEN MATTHEW DUNNE on
                        behalf of Lyndel Toppin (related document(s)83). (DUNNE, STEPHEN)
01/16/2020              (Entered: 01/16/2020)

                   86   Document in re: Pretrial Disclosures Filed by JOSHUA DOMER on
                        behalf of Jewell Williams. (Attachments: # 1 Service List) (DOMER,
01/16/2020              JOSHUA) (Entered: 01/16/2020)

                   87   **CORRECT ENTRY**Plaintiff's Consent Motion to extend time to file
                        response to Defendant's Summary Judgment motion Filed by Lyndel
                        Toppin Represented by STEPHEN MATTHEW DUNNE (Counsel).
01/16/2020              (Attachments: # 1 Proposed Order) (J., Randi) (Entered: 01/17/2020)

                   88   Document in re: Pretrial Disclosures Filed by STEPHEN MATTHEW
                        DUNNE on behalf of Lyndel Toppin. (DUNNE, STEPHEN) (Entered:
01/17/2020              01/17/2020)

                   89   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 82)). No. of Notices: 4. Notice Date 01/18/2020.
01/18/2020              (Admin.) (Entered: 01/19/2020)

                   90   Conference Call re: Consent Motion to extend time to file response to
                        Defendant's Summary Judgment motion Filed by Lyndel Toppin
                        Represented by STEPHEN MATTHEW DUNNE − Hearing scheduled
                        1/23/2020 at 03:45 PM at nix2 − Courtroom #2. (G., Eileen) (Entered:
01/23/2020              01/23/2020)

                   91   Conference Call Held re: Consent Motion to extend time to file response
                        to Defendant's Summary Judgment motion Filed by Lyndel Toppin
                        Represented by STEPHEN MATTHEW DUNNE (related
                        document(s)87). Counsel to file amended motion (G., Eileen) (Entered:
01/23/2020              01/23/2020)

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                         Response to Motion for Sanctions filed by Plaintiff Lyndel Toppin Filed
                         by Jewell Williams (related document(s)77). (Attachments: # 1 Proposed
                         Order # 2 Exhibit A # 3 Exhibit B # 4 Exhibit C # 5 Exhibit D # 6
                         Exhibit E # 7 Exhibit F # 8 Service List) (DOMER, JOSHUA) (Entered:
                         01/23/2020)

                   93    Motion to EXTEND time to TO EXTEND TIME TO FILE RESPONSE
                         TO DEFENDANTS SUMMARY JUDGMENT MOTION Filed by
                         Lyndel Toppin Represented by STEPHEN MATTHEW DUNNE
                         (Counsel). (Attachments: # 1 Proposed Order # 2 Exhibit A) (DUNNE,
01/24/2020               STEPHEN) (Entered: 01/24/2020)

                   94    Hearing RESCHEDULED 71 Motion For Summary Judgment Filed by
                         Jewell Williams Represented by MEGAN N. HARPER (Counsel)..
                         Hearing scheduled 2/18/2020 at 11:30 AM at nix2 − Courtroom #2.
                         (re−scheduled in open court on 1/28/20) (G., Eileen) (Entered:
01/28/2020               01/28/2020)

                   98    Hearing Held on 77−Motion for Sanctions. Order entered. (D., Virginia)
01/28/2020               (Entered: 02/04/2020)

                   100   Hearing Held on 59 Motion to Compel Filed by Lyndel Toppin
                         Represented by STEPHEN MATTHEW DUNNE (Counsel). Order
01/28/2020               entered. (D., Virginia) (Entered: 02/04/2020)

                   102   Hearing Held on 60 Motion to Compel Filed by Lyndel Toppin
                         Represented by STEPHEN MATTHEW DUNNE (Counsel). Order
01/28/2020               entered. (D., Virginia) (Entered: 02/04/2020)

                   95    Stipulation By Lyndel Toppin and Between Jewell Williams, Sheriff of
                         the City of Philadelphia . Filed by STEPHEN MATTHEW DUNNE on
                         behalf of Lyndel Toppin (related document(s)93, 87). (Attachments: # 1
01/29/2020               Proposed Order) (DUNNE, STEPHEN) (Entered: 01/29/2020)

                   96    BNC Certificate of Mailing − Hearing Set. Number of Notices Mailed:
                         (related document(s) (Related Doc # 94)). No. of Notices: 3. Notice Date
01/30/2020               01/30/2020. (Admin.) (Entered: 01/31/2020)

                   97    Order. Having reviewed the Stipulation to Extend Time for Plaintiff to
                         File Opposition to Defendant's Motion for Summary Judgment (related
                         document(s)95, 93), and good cause appearing therefor, it is hereby
                         Ordered that the Plaintiff's response to the Motion for Summary
                         Judgment shall be filed and served no later than Wednesday, February 5,
                         2020. Sheriff's reply brief in support of the Motion for Summary
                         Judgment shall be filed and served no later than Friday, February 14,
01/31/2020               2020. (B., John) (Entered: 02/03/2020)

                  99     Order entered Denying Motion For Sanctions (Related Doc # 77) for the
02/03/2020               reasons stated on the record. (D., Virginia) (Entered: 02/04/2020)

                  101    Order ENTERED Denying Motion To Compel (Related Doc # 59) for the
02/03/2020               reasons stated on the record. (D., Virginia) (Entered: 02/04/2020)

                  103    Order entered Granting in part, Denying in part Motion To Compel
                         (Related Doc # 60). Defendant, Jewell Williams shall produce 30 (b)(6)
                         witnesses identified by the Plaintiff in connection with the alleged receipt
                         of notice from defendant Abdeldayem Hassan on June 22, 2018.(D.,
02/03/2020               Virginia) (Entered: 02/04/2020)


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                  104   Motion for Clarification of Order Filed by Jewell Williams Represented
                        by JOSHUA DOMER (Counsel). (Attachments: # 1 Exhibit A # 2 Exhibit
                        B # 3 Exhibit C # 4 Service List) (DOMER, JOSHUA) (Entered:
02/05/2020              02/05/2020)

                  105   Response to Motion for Summary Judgment filed by Defendant Jewell
                        Williams Filed by Lyndel Toppin (related document(s)71). (Attachments:
                        # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
                        Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I # 10 Exhibit J # 11
                        Exhibit K # 12 Exhibit L # 13 Exhibit M # 14 Exhibit N # 15 Exhibit O)
02/05/2020              (DUNNE, STEPHEN) (Entered: 02/05/2020)

                  106   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 97)). No. of Notices: 4. Notice Date 02/05/2020. (Admin.)
02/05/2020              (Entered: 02/06/2020)

                  107   Motion to Expedite Hearing (related documents Generic Motion) Motion
                        for Clarification of Order Filed by Jewell Williams Represented by
                        MEGAN N. HARPER (Counsel) (related document(s)104). (Attachments:
                        # 1 Exhibit A − Motion for Clarification of Order # 2 Exhibit B −
                        Proposed Form of Order # 3 Service List) (HARPER, MEGAN) (Entered:
02/06/2020              02/06/2020)

                  108   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 99)). No. of Notices: 4. Notice Date 02/06/2020. (Admin.)
02/06/2020              (Entered: 02/07/2020)

                  109   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 101)). No. of Notices: 4. Notice Date 02/06/2020.
02/06/2020              (Admin.) (Entered: 02/07/2020)

                  110   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 103)). No. of Notices: 4. Notice Date 02/06/2020.
02/06/2020              (Admin.) (Entered: 02/07/2020)

                  111   Amended Order Denying Motion To Compel (Related Doc # 60) . The
                        Motion is DENIED. Defendant Jewell Williams complied with his
                        obligations under Federal Rule of Bankruptcy Procedure 7030(b)(6).
                        Notwithstanding the Court's determination in Paragraph 1 above, the
                        Plaintiff's request (the "Request") that Jewell Williams produce for
                        deposition the female employee (the "Employee") of the Philadelphia
                        Sheriff's Office to whom Defendant Abdeldayem Hassan alleges he
                        delivered a notice of the Debtor's bankruptcy on June 22, 2018 is
                        GRANTED. Defendant Jewell Williams shall, within 30 days of the entry
                        of this Order, either (a) Produce the Employee for deposition, or (b) file,
                        under penalty of perjury, a sworn affidavit setting forth the specific
                        measures that were taken in an attempt to identity and produce the
                        Employee and attesting that despite undertaking such measures,
                        Defendant Jewell Williams is unable to identify the Employee responsive
02/11/2020              to the Request. (D., Virginia) (Entered: 02/12/2020)

                  112   Brief Reply Brief in Support of Summary Judgment Filed by MEGAN N.
                        HARPER on behalf of Jewell Williams (related document(s)71).
                        (Attachments: # 1 Exhibit A − Hassan Dep. # 2 Service List) (HARPER,
02/14/2020              MEGAN) (Entered: 02/14/2020)

                  113   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 111)). No. of Notices: 4. Notice Date 02/14/2020.
02/14/2020              (Admin.) (Entered: 02/15/2020)


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                  114   Hearing Held on 71 Motion For Summary Judgment Filed by Jewell
                        Williams Represented by MEGAN N. HARPER (Counsel). (related
                        document(s),71). Motion granted in part − Order to be entered (G.,
02/19/2020              Eileen) (Entered: 02/19/2020)

                  115   Order entered Granting in part the Motion For Summary Judgment
                        (Related Doc 71) . Summary Judgment is granted to Williams on the
                        limited issue of punitive damages. The Plaintiff is not entitled to recover
                        punitive damages from Williams. (D., Virginia) **Additional
                        attachment(s) added on 2/26/2020 . Modified on 2/26/2020 see corrective
02/20/2020              entry entered on 2/26/2020**(D., Virginia). (Entered: 02/20/2020)

                  116   Court's Certificate of Mailing. Number of notices: 1 copy mailed to
                        Predrag Filipovic, Esq.(related document(s)115). (D., Virginia) (Entered:
02/20/2020              02/20/2020)

                  119   Corrective entry −attached correct PDF which is a Copy of Order entered
                        Granting in part the Motion For Summary Judgment (Related Doc # 71) .
                        Summary Judgment is granted to Williams on the limited issue of punitive
                        damages. The Plaintiff is not entitled to recover punitive damages from
                        Williams.(related document(s)115). (D., Virginia) Modified on 2/26/2020
02/20/2020              (D., Virginia). (Entered: 02/26/2020)

                  117   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 115)). No. of Notices: 4. Notice Date 02/22/2020.
02/22/2020              (Admin.) (Entered: 02/23/2020)

                  118   Mediation declined Filed by MEGAN N. HARPER on behalf of Jewell
02/25/2020              Williams. (HARPER, MEGAN) (Entered: 02/25/2020)

                  120   Court's Certificate of Mailing. Number of notices: 1 copy mailed to
                        Predrag Filipovic, Esq.(related document(s)115). (D., Virginia) (Entered:
02/26/2020              02/26/2020)

                  121   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 119)). No. of Notices: 4. Notice Date 02/28/2020.
02/28/2020              (Admin.) (Entered: 02/29/2020)

                  122   Affidavit Re: Sheriffs Efforts to Produce Employee Responsive to the
                        Courts Order Filed by JOSHUA DOMER on behalf of Jewell Williams
03/12/2020              (related document(s)111). (DOMER, JOSHUA) (Entered: 03/12/2020)

                  123   Pre−Trial Hearing Held on Adversary − Trial to be scheduled for 7/17/20
03/25/2020              @ 10:30 a.m (G., Eileen) (Entered: 03/25/2020)

                  124   Trial (related document(s)1) scheduled 7/17/2020 at 10:30 AM at nix2 −
03/25/2020              Courtroom #2. (G., Eileen) (Entered: 03/25/2020)

                  125   BNC Certificate of Mailing − Trial. Number of Notices Mailed: (related
                        document(s) (Related Doc # 124)). No. of Notices: 3. Notice Date
03/27/2020              03/27/2020. (Admin.) (Entered: 03/28/2020)

                  126   Supplemental Memorandum in Support of Motion for Summary Judgment
                        Filed by MEGAN N. HARPER on behalf of Jewell Williams (related
                        document(s)71). (Attachments: # 1 Exhibit A # 2 Service List) (HARPER,
04/06/2020              MEGAN) (Entered: 04/06/2020)

04/06/2020        127

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                        Supplemental Memorandum in Opposition to Motion for Summary
                        Judgment Filed by STEPHEN MATTHEW DUNNE on behalf of Lyndel
                        Toppin (related document(s)71). (DUNNE, STEPHEN) (Entered:
                        04/06/2020)

                  128   Order Governing Procedures At Trial Conducted Remotely By
                        Videoconference on July 17,2020 2 10:30 A.M. (J., Christina) (Entered:
06/30/2020              06/30/2020)

                  129   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 128)). No. of Notices: 4. Notice Date 07/02/2020.
07/02/2020              (Admin.) (Entered: 07/03/2020)

                  130   **INCORRECT ENTRY**Document in re: Motion for Continuance of
                        July 17, 2020 Trial Date Filed by STEPHEN MATTHEW DUNNE on
                        behalf of Lyndel Toppin. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                        Exhibit C # 4 Exhibit D) (DUNNE, STEPHEN) Modified on 7/13/2020
07/10/2020              (J., Randi). (Entered: 07/10/2020)

                  131   Motion to Expedite Hearing (related documents Document) Filed by
                        Lyndel Toppin Represented by STEPHEN MATTHEW DUNNE
                        (Counsel) (related document(s)134). (Attachments: # 1 Proposed Order)
                        (DUNNE, STEPHEN). Related document(s) 134 Motion to Continue
                        Hearing On Motion to Expedite Hearing filed by Plaintiff Lyndel Toppin.
                        **Modified on 7/13/2020−relinked to docket #134** (J., Randi).
07/10/2020              (Entered: 07/10/2020)

                  132   Certificate of Service Filed by STEPHEN MATTHEW DUNNE on behalf
                        of Lyndel Toppin (related document(s)131). (DUNNE, STEPHEN)
07/10/2020              (Entered: 07/10/2020)

                  133   Certificate of Service Filed by STEPHEN MATTHEW DUNNE on behalf
                        of Lyndel Toppin (related document(s)130). (DUNNE, STEPHEN)
07/10/2020              (Entered: 07/10/2020)

                  134   **CORRECT ENTRY** Motion to Continue 7/17/20 Trial date On
                        Motion to Expedite Hearing Filed by Lyndel Toppin Represented by
                        STEPHEN MATTHEW DUNNE (Counsel) (related document(s)124) .
                        (Attachments: # 1 Exhibit A # 2 Exhibit b # 3 Exhibit c # 4 Exhibit d) (J.,
07/10/2020              Randi). Related document(s) 124 Trial. (Entered: 07/13/2020)

                  135   Hearing Scheduled 131Expedited Motion to Continue 7/17/20 Trial date
                        On Motion to Expedite Hearing Filed by Lyndel Toppin Represented by
                        STEPHEN MATTHEW DUNNE (Counsel) (related document(s)124) .
                        (Attachments: # 1 Exhibit A # 2 Exhibit b # 3 Exhibit c # 4 Exhibit d) (J.,
                        Randi). Related document(s) 124 Trial. filed by Plaintiff Lyndel Toppin.
                        Hearing scheduled 7/14/2020 at 11:30 AM at nix2 − Courtroom #2. (G.,
07/13/2020              Eileen) (Entered: 07/13/2020)

                  136   Hearing Held on 131 Motion to Continue 7/17/20 Trial date On Motion to
                        Expedite Hearing Filed by Lyndel Toppin Represented by STEPHEN
                        MATTHEW DUNNE (Counsel) (related document(s)124) .(related
                        document(s),134,131). Motion granted − Scheduling Order to be entered
07/14/2020              −Trial scheduled for 8/21/20 (G., Eileen) (Entered: 07/14/2020)

                  137   Trial (related document(s)1)re−scheduled for 8/21/2020 at 10:30 AM at
07/14/2020              nix2 − Courtroom #2. (G., Eileen) (Entered: 07/14/2020)



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                  138   BNC Certificate of Mailing − Hearing Set. Number of Notices Mailed:
                        (related document(s) (Related Doc # 135)). No. of Notices: 3. Notice Date
07/15/2020              07/15/2020. (Admin.) (Entered: 07/16/2020)

                  139   BNC Certificate of Mailing − Trial. Number of Notices Mailed: (related
                        document(s) (Related Doc # 137)). No. of Notices: 3. Notice Date
07/16/2020              07/16/2020. (Admin.) (Entered: 07/17/2020)

                  140   Order Governing Procedures at Trial Conducted Remotely by Video
07/29/2020              Conference . (D., Virginia) (Entered: 07/29/2020)

                  141   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 140)). No. of Notices: 2. Notice Date 07/31/2020.
07/31/2020              (Admin.) (Entered: 08/01/2020)

                  142   Plaintiff's Motion to Dismiss All Claims for Relief Against Defendant
                        Abdeldayem Hassan aka Abdeldyem Hassan (Attachments: # 1 Exhibit A
                        # 2 Proposed Order B # 3 Service List) (DUNNE, STEPHEN)
                        **Modified on 8/7/2020 to add the words "Plaintiff's Motion to Dismiss
                        All Claims for Relief Against Defendant Abdeldayem Hassan aka
                        Abdeldyem Hassan " and remove the words Motion to Dismiss Party
                        Filed by Abdeldayem Hassan to reflect the PDF** (D., Virginia).
08/06/2020              (Entered: 08/06/2020)

                  143   Limited Objection to Motion to Dismiss Party filed by Plaintiff Lyndel
                        Toppin, Defendant Abdeldayem Hassan Filed by Jewell Williams (related
                        document(s)142). (Attachments: # 1 Service List) (HARPER, MEGAN)
08/10/2020              (Entered: 08/10/2020)

                  144   Hearing scheduled 142 Plaintiff's Motion to Dismiss All Claims for Relief
                        Against Defendant Abdeldayem Hassan aka Abdeldyem Hassan
                        (Attachments: # 1 Exhibit A # 2 Proposed Order B # 3 Service List)
                        (DUNNE, STEPHEN) Hearing scheduled 9/8/2020 at 11:00 AM at nix2 −
08/11/2020              Courtroom #2. (G., Eileen) (Entered: 08/11/2020)

                  145   BNC Certificate of Mailing − Hearing Set. Number of Notices Mailed:
                        (related document(s) (Related Doc # 144)). No. of Notices: 2. Notice Date
08/13/2020              08/13/2020. (Admin.) (Entered: 08/14/2020)

                  146   Reply Memorandum of Law in Support of plaintiff's Motion to Dismiss
                        and in Opposition to defendant, City of Philadelphia's Limited Objection
                        filed by Plaintiff Lyndel Toppin, Defendant Abdeldayem Hassan,
                        Objection filed by Defendant Jewell Williams, Hearing (Bk) Set Filed by
                        Lyndel Toppin (related document(s)144, 143, 142). (Attachments: # 1
                        Proposed Order) (DUNNE, STEPHEN) **Modified on 8/17/2020 to add
                        words " Reply Memorandum of Law in Support of plaintiff's Motion to
                        Dismiss and in Opposition to defendant, City of Philadelphia's Limited
                        Objection" and remove the words "Reply to Motion to Dismiss Party" to
                        reflect the PDF**(D., Virginia). Modified on 8/17/2020 (Entered:
08/17/2020              08/17/2020)

                  147   Sheriff of the City of Philadelphia's Remote Witness and Exhibit List in
                        re: Filed by MEGAN N. HARPER on behalf of Jewell Williams (related
                        document(s)140). (HARPER, MEGAN) **Modified on 8/18/2020 to add
                        the words "Sheriff of the City of Philadelphia's Remote Witness and
08/17/2020              Exhibit List" to reflect the PDF**(D., Virginia). (Entered: 08/17/2020)

08/17/2020        148   Plaintiff's Remote Witness List Filed by STEPHEN MATTHEW DUNNE
                        on behalf of Lyndel Toppin (related document(s)140). (DUNNE,

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                        STEPHEN) Modified on 8/18/2020 (D., Virginia). (Entered: 08/17/2020)

                  149   Motion to Expedite Hearing (related documents Motion to Dismiss Party,
                        Reply) Filed by Lyndel Toppin Represented by STEPHEN MATTHEW
                        DUNNE (Counsel) (related document(s)142, 146). (Attachments: # 1
                        Exhibit # 2 Proposed Order # 3 Service List) (DUNNE, STEPHEN)
08/19/2020              (Entered: 08/19/2020)

                  150   Order Scheduling Hearing re:149 Motion to Expedite Hearing Motion to
                        Dismiss Filed by Lyndel Toppin Represented by STEPHEN MATTHEW
                        DUNNE (Counsel) (related document(s)142, 146). Hearing scheduled
                        8/21/2020 at 10:30 AM at Philadelphia Telephone Hearing. (J., Christina)
08/19/2020              (Entered: 08/19/2020)

                  151   Motion IN LIMINE TO EXCLUDE TESTIMONY OF ABDELDAYAM
                        HASSAN Filed by Lyndel Toppin Represented by STEPHEN MATTHEW
                        DUNNE (Counsel). (Attachments: # 1 Proposed Order # 2 Service List)
08/21/2020              (DUNNE, STEPHEN) (Entered: 08/21/2020)

                  152   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 150)). No. of Notices: 3. Notice Date 08/21/2020.
08/21/2020              (Admin.) (Entered: 08/22/2020)

                  153   Evidentiary Trial Held and Concluded (related document(s),137).
                        Defendents's counsel shall order the Transcript within 30 days weeks; 2
                        weeks after response to be filed; 2 weeks after Plaintiff shall respond; to
08/21/2020              be held Under Advisement (G., Eileen) (Entered: 08/24/2020)

                  154   Hearing on Plaintiff's Motion to Dismiss All Claims for Relief Against
                        Defendant Abdeldayem Hassan aka Abdeldyem Hassan (Attachments: # 1
                        Exhibit A # 2 Proposed Order B # 3 Service List) (DUNNE, STEPHEN)
                        Hassan Cancelled. Reason for Cancellation: hearing held on 8/21/20
08/24/2020              (related document(s)142). (G., Eileen) (Entered: 08/24/2020)

                  155   Transcript regarding Hearing Held on 8/21/2020 EMERGENCY
                        MOTION FOR EXPEDITED CONSIDERATION OF PLAINTIFFS
                        MOTION TO DISMISS ALL CLAIMS FOR RELIEF
                        AGAINSTDEFENDANT ABDELDAYEM HASSAN A/K/A
                        ABDELDYEM HASSAN FILED BY LYNDEL TOPPIN
                        REPRESENTED BY STEPHEN MATTHEW DUNNE. Transcribed by
                        Writer's cramp, Inc 268 pages. The transcript may be viewed at the
                        Bankruptcy Court Clerk's Office. [For information about how to contact
                        the transcriber, call the Clerk's Office] (related document(s) 153 ). Notice
                        of Intent to Request Redaction Deadline Due By 10/1/2020. Redaction
                        Request Due By 10/15/2020. Redacted Transcript Submission Due By
                        10/25/2020. Transcript access will be restricted through 12/23/2020. (D.,
09/24/2020              Tasha) (Entered: 09/24/2020)

                  156   BNC Certificate of Mailing − Notice of Filing of Transcript. Number of
                        Notices Mailed: (related document(s) (Related Doc # 155)). No. of
09/26/2020              Notices: 3. Notice Date 09/26/2020. (Admin.) (Entered: 09/27/2020)

                  157   Motion for Directed Verdict Filed by Sheriff of the City of Philadelphia
                        Represented by MEGAN N. HARPER (Counsel). (Attachments: # 1
10/08/2020              Proposed Order) (HARPER, MEGAN) (Entered: 10/08/2020)

                  158   Memorandum in Support of Motion for Directed Verdict Filed by
                        MEGAN N. HARPER on behalf of Sheriff of the City of Philadelphia
10/08/2020              (related document(s)157). (HARPER, MEGAN) (Entered: 10/08/2020)

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                  159   Notice of (related document(s): 157 Motion for Directed Verdict) Filed by
                        Sheriff of the City of Philadelphia. (Attachments: # 1 Service
10/08/2020              List)(HARPER, MEGAN) (Entered: 10/08/2020)

                  160   Amended Notice of (related document(s): 157 Motion for Directed
                        Verdict) Filed by Sheriff of the City of Philadelphia. (Attachments: # 1
                        Service List)(HARPER, MEGAN).11/10/2020 at 11:00 AM in Courtroom
                        #2 US Bankruptcy Court, 900 Market Street, Philadelphia PA 19107...
                        **Modified on 10/16/2020 to add the hearing date of 11/10/2020 at 11:00
                        AM in Courtroom #2** to reflect the PDF(D., Virginia). Modified on
                        10/30/2020 to show correct hearing date of 11−10−2020**(K., Marie).
10/15/2020              (Entered: 10/15/2020)

                  161   Response to Generic Motion filed by Defendant Sheriff of the City of
                        Philadelphia Filed by Lyndel Toppin (related document(s)157). (DUNNE,
10/29/2020              STEPHEN) (Entered: 10/29/2020)

                  162   Supplemental Statement Notice of Supplemental Authority Filed by
                        STEPHEN MATTHEW DUNNE on behalf of Lyndel Toppin (related
                        document(s)72, 71, 112, 157, 126). (DUNNE, STEPHEN) (Entered:
11/06/2020              11/06/2020)

                  163   Hearing Held on Motion for Directed Verdict Filed by Sheriff of the City
                        of Philadelphia Represented by MEGAN N. HARPER − HELD UNDER
11/10/2020              ADVISEMENT (G., Eileen) (Entered: 11/10/2020)

                  164   Order entered Granting in part, Denying in part Summary Judgment
                        Motion (Related Doc # 157) . It is GRANTED with respect to the Debtor's
                        request for damages for emotional distress and DENIED on all other
                        grounds asserted. 3. The Directed Verdict Motion is GRANTED. 3. The
                        Debtor's requested relief for sanctions against the Sheriff's Office pursuant
                        to Section 362 (k) of the Bankruptcy Code is DENIED. (D., Virginia)
11/08/2021              (Entered: 11/09/2021)

                  165   Memorandum Order Re: 157 . An Order consistent with this
11/08/2021              Memorandum will be entered. (D., Virginia) (Entered: 11/09/2021)

                  166   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 164)). No. of Notices: 3. Notice Date 11/11/2021.
11/11/2021              (Admin.) (Entered: 11/12/2021)

                  167   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 165)). No. of Notices: 3. Notice Date 11/11/2021.
11/11/2021              (Admin.) (Entered: 11/12/2021)

                  168   Notice of Appeal to District Court. . Fee Amount $298.00 Filed by Lyndel
                        Toppin (related document(s)164, 165). Appellant Designation due by
                        12/2/2021. Transmission of record on appeal to District Court Due
                        Date:12/16/2021. (Attachments: # 1 Service List # 2 Proposed
11/18/2021              Order)(DUNNE, STEPHEN) (Entered: 11/18/2021)

                        Receipt of Notice of Appeal( 18−00137−mdc) [appeal,ntcapl] ( 298.00)
                        Filing Fee. Receipt number AXXXXXXXX. Fee Amount $ 298.00. (re: Doc#
11/18/2021              168) (U.S. Treasury) (Entered: 11/18/2021)

11/19/2021        169   Court's Certificate of Mailing of Notice of Appeal. Number of notices: 10.
                        Sent to Judge Magdeline D. Coleman (via Courtroom Deputy). District
                        Court. Lyndel Toppin mailed through BNC. Stephen Matthew Dunne,


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                        Esq.;Predrag Filipovic, Esq.; Megan N. Harper, Esq.; David M. Offen,
                        Esq. ; Joshua Domer, Esq.; Kenneth E. West, Esq. United States
                        Trustee−mailed electronically (related document(s)168). (D., Virginia)
                        (Entered: 11/19/2021)

                  170   Court's Certificate of Mailing. Number of notices: 1 copy mailed to
                        Lyndel Toppin(related document(s)168). (D., Virginia) (Entered:
11/19/2021              11/19/2021)

                  171   Electronic Transmission of Notice of Appeal to District Court (related
11/19/2021              document(s)168). (D., Virginia) (Entered: 11/19/2021)

                  172   Notice of Docketing Record on Appeal to District Court. Case Number:
                        Civil Action Number 21−5144; re Judge Wendy Beetlestone (related
11/23/2021              document(s)168−Notice of Appeal). (D., Virginia) (Entered: 11/23/2021)

                  173   Notice of Appearance and Request for Notice by MEGHAN ANNETTE
                        BYRNES Filed by MEGHAN ANNETTE BYRNES on behalf of Sheriff
                        of the City of Philadelphia, Jewell Williams. (BYRNES, MEGHAN)
11/30/2021              (Entered: 11/30/2021)

                  174   Cross Appeal . Fee Amount $298.00 Filed by Sheriff of the City of
                        Philadelphia, Jewell Williams (related document(s)168). Appellant
                        Designation due by 12/15/2021. Transmission of record on appeal to
                        District Court Due Date:12/29/2021. (BYRNES, MEGHAN) (Entered:
12/01/2021              12/01/2021)

                        Receipt of Cross Appeal( 18−00137−mdc) [appeal,crssapl] ( 298.00)
                        Filing Fee. Receipt number AXXXXXXXX. Fee Amount $ 298.00. (re: Doc#
12/01/2021              174) (U.S. Treasury) (Entered: 12/01/2021)

                        ***DUPLICATE ENTRY*** Receipt of Cross Appeal( 18−00137−mdc)
                        [appeal,crssapl] ( 298.00) Filing Fee. Receipt number AXXXXXXXX. Fee
                        Amount $ 298.00. (re: Doc174) (U.S. Treasury) Modified on 12/2/2021
12/01/2021              (C., Jacqueline). (Entered: 12/01/2021)

                  175   Courts Certificate of Mailing of Cross Appeal to : Judge Magdeline D.
                        Coleman, via Courtroom Deputy. District Court, Stephen M. Dunne, Esq.,
                        Predrag Filipovic, Esq., U.S. Trustee, Meghan Brynes, Esq. electronically
                        mailed. Lyndel Toppin, mailed through BNC (related document(s)174).
12/02/2021              (D., Virginia) (Entered: 12/02/2021)

                  176   Electronic Transmission of Cross Appeal to District Court (related
12/02/2021              document(s)174). (D., Virginia) (Entered: 12/02/2021)

                  177   Court's cert of mailing to Predag Filipovic, Esq. of cross appeal (related
12/02/2021              document(s)174). (K., Marie) (Entered: 12/02/2021)

                  178   Transcript Ordered Filed by Lyndel Toppin (related document(s)168).
12/02/2021              (DUNNE, STEPHEN) (Entered: 12/02/2021)

12/02/2021        179   Appellant Designation of Contents For Inclusion in Record On Appeal
                        Filed by Lyndel Toppin. Appellee designation due by 12/16/2021.
                        Transmission of Designation Due by 01/1/2022. (Attachments: # 1
                        Exhibit Deposition of Barrington Whyte # 2 Exhibit Sheriffs Responses to
                        Requests for Admission # 3 Exhibit Revised Trial Stipulations # 4 Exhibit
                        Plaintiffs Remote Witness List # 5 Exhibit Plaintiffs Exhibit List: P1 to
                        P60 # 6 Exhibit Plaintiff's Bates Stamped Trial Exhibit Binder with


                                                                                                     17
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                        Exhibits labeled P1 through P60 # 7 Exhibit Defendant's Exhibits: D1 to
                        D30 # 8 Exhibit Trial Transcript − 268 Pages)(DUNNE, STEPHEN)
                        (Entered: 12/02/2021)

                  182   Notice of Docketing Record on Cross Appeal to District Court. Civil
                        Action Number 21−5144. Assigned to Judge Wendy Beetlestone. (related
12/02/2021              document(s)174). (S., Antoinette) (Entered: 12/08/2021)

                  180   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 175)). No. of Notices: 1. Notice Date 12/04/2021.
12/04/2021              (Admin.) (Entered: 12/05/2021)

                  181   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 177)). No. of Notices: 1. Notice Date 12/04/2021.
12/04/2021              (Admin.) (Entered: 12/05/2021)




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re: LYNDEL TOPPIN,                    :     Chapter 13
                 Debtor.                  :
                                          :     Case No. 18-13098-MDC
_____________________________________________________________________________
                                          :
LYNDEL TOPPIN,                            :
                  Movant                  :
v.                                        :     Adv. Proc. No. 18-00137-MDC
                                          :
 JEWELL WILLIAMS, SHERIFF                 :
 OF THE CITY OF PHILADELPHIA and          :
 ABDELDAYEM HASSAN a/k/a                  :
 ABDELDYEM HASSAN,                        :
                  Respondents             :
                                          :

                  DESIGNATION OF RECORD ON APPEAL AND
         STATEMENT OF ISSUES TO BE PRESENTED PURSUANT TO FRBP 8009(a)

          Pursuant to Federal Rule of Bankruptcy Procedure 8009(a), Appellant, Lyndel Toppin
  hereby submits this designation of the record on appeal and statement of issues to be presented in
  connection with the appeal from the Order of the Bankruptcy Court granting Sheriff’s Office
  Motion for Summary Judgment with respect to the Debtor’s request for damages for emotional
  distress and granting Sheriff’s Offices Motion for Directed Verdict (Adv. Docket No. 164), as
  follows:
                            DESIGNATION OF RECORD ON APPEAL


 Description of Document                                 Filing Date               Document No.
 Voluntary Petition, Schedules and Statements            5/8/18               Bk # 1
 BNC Certificate of Mailing - Voluntary Petition         5/12/18             Bk # 6
 Complaint                                               6/11/18             Bk # 14
 Motion to Approve Debtors Motion                        7/2/18               Bk # 15
 for Appointment of Next Friend
 Order entered Granting Motion to Approve Next           7/10/18              Bk # 22
 Friend. Barrington Whyte shall serve as Next
 Friend to permit him to testify on behalf of
 debtor, Lyndel Toppin.
 Order entered Granting Application to Employ            7/26/2019            Bk # 88
 PREDRAG FILIPOVIC, Esq. as Special
 Counsel.
       Case 2:21-cv-05144-WB Document 4-1 Filed 12/16/21 Page 22 of 102

Description of Document                            Filing Date       Document No.
Transcript regarding Hearing Held on 8/21/2020    9/24/2020      BK # 125
EMERGENCY MOTION FOR EXPEDITED
CONSIDERATION OF PLAINTIFFS MOTION
TO DISMISS ALL CLAIMS FOR RELIEF
AGAINSTDEFENDANT ABDELDAYEM
HASSAN A/K/A ABDELDYEM HASSAN
FILED BY LYNDEL TOPPIN REPRESENTED
BY STEPHEN MATTHEW DUNNE.
Transcribed by Writer's Cramp,Inc. 268 pages.
The transcript may be viewed at the Bankruptcy
Court Clerk's Office.
Complaint                                         6/11/2018      Adv Pro # 1
Amended Complaint                                 6/15/18        Adv Pro # 3
Answer                                            7/19/18        Adv Pro # 7
Supplemental Authority                            9/26/2018      Adv Pro # 22
Second Amended Complaint                          10/24/18       Adv Pro # 29
Exhibit A thru K Filed by STEPHEN                 10/24/2018     Adv Pro # 30
MATTHEW DUNNE on behalf of Lyndel
Toppin
Answer to Second Amended Complaint Filed by       11/21/2018     Adv Pro # 37
Jewell Williams.
Pre-Trial Order. Pre-Trial Conference scheduled   1/3/2019       Adv Pro # 42
7/17/2019 at 11:00 AM at nix2 - Courtroom #2.
Pre-Trial Scheduling Order. Pre-Trial Hearing     2/14/2019      Adv Pro # 46
scheduled 9/18/2019 at 11:00 AM at nix2 -
Courtroom #2
Pre-Trial Scheduling Order. Pre-Trial             7/18/2019      Adv Pro # 56
Conference scheduled 3/25/2020 at 11:00 AM at
nix2 - Courtroom #2
Motion For Summary Judgment Filed by              12/26/19       Adv Pro # 71
Sheriff, Jewell Williams
Memorandum in Support of Motion For               12/26/19       Adv Pro # 72
Summary Judgment Filed by Sheriff, Jewell
Williams
Document in re: Pretrial Disclosures Filed by     1/17/2020      Adv Pro # 88
STEPHEN MATTHEW DUNNE on behalf of
Lyndel Toppin
Response to Motion for Summary Judgment           2/5/2020       Adv Pro # 105
filed by Defendant Jewell Williams Filed by
Lyndel Toppin
Brief Reply Brief in Support of Summary           2/14/2020      Adv Pro # 112
Judgment Filed by MEGAN N. HARPER on
behalf of Jewell Williams
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     Description of Document                          Filing Date       Document No.
Affidavit Re: Sheriffs Efforts to Produce            3/12/2020      Adv Pro # 122
Employee Responsive to the Courts Order Filed
by JOSHUA DOMER on behalf of Jewell
Williams
Supplemental Memorandum in Support                   4/6/2020       Adv Pro # 126
of Motion for Summary Judgment Filed by
MEGAN N. HARPER on behalf of Jewell
Williams
Supplemental Memorandum in Opposition                4/6/2020       Adv Pro # 127
to Motion for Summary Judgment Filed by
STEPHEN MATTHEW DUNNE on behalf of
Lyndel Toppin
Order Governing Procedures At Trial Conducted        6/30/2018      Adv Pro # 128
Remotely By Videoconference on July 17,2020
2 10:30 A.M.
Trial (related document(s)[1])re-scheduled for       7/14/2020      Adv Pro # 137
8/21/2020 at 10:30 AM at nix2 - Courtroom #2.
Order Governing Procedures at Trial Conducted        7/29/2020      Adv Pro # 140
Remotely by Video Conference .
Document in re: Remote Hearing Witness and        8/17/2020         Adv Pro # 147
Exhibit List Filed by MEGAN N. HARPER on
behalf of Jewell Williams
Document in re: Plaintiff's Remote Witness                          Adv Pro # 148
List Filed by STEPHEN MATTHEW DUNNE                  8/17/2020
on behalf of Lyndel Toppin
Evidentiary Trial Held and Concluded                 8/24/2020      Adv Pro # 153
Transcript regarding Hearing Held on 8/21/2020       9/24/2020      Adv Pro # 155
EMERGENCY MOTION FOR EXPEDITED
CONSIDERATION OF PLAINTIFFS MOTION
TO DISMISS ALL CLAIMS FOR RELIEF
AGAINSTDEFENDANT ABDELDAYEM
HASSAN A/K/A ABDELDYEM HASSAN
FILED BY LYNDEL TOPPIN REPRESENTED
BY STEPHEN MATTHEW DUNNE.
Transcribed by Writer's cramp, Inc 268 pages.
The transcript may be viewed at the Bankruptcy
Court Clerk's Office.
Motion for Directed Verdict Filed by Sheriff of      10/8/2020      Adv Pro # 157
the City of Philadelphia Represented by
MEGAN N. HARPER
Memorandum in Support of Motion for Directed         10/8/2020      Adv Pro # 158
Verdict Filed by MEGAN N. HARPER on
behalf of Sheriff of the City of Philadelphia
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Description of Document                              Filing Date        Document No.
Memorandum in Support of Motion for Directed         10/8/2020     Adv Pro # 158
Verdict Filed by MEGAN N. HARPER on
behalf of Sheriff of the City of Philadelphia
Response to Generic Motion filed by Defendant        10/29/2020    Adv Pro # 161
Sheriff of the City of Philadelphia Filed by
Lyndel Toppin
Supplemental Statement Notice of Supplemental        11/6/2020     Adv Pro # 162
Authority Filed by STEPHEN MATTHEW
DUNNE on behalf of Lyndel Toppin
Hearing Held on Motion for Directed Verdict          11/10/2020    Adv Pro # 163
Filed by Sheriff of the City of Philadelphia
Represented by MEGAN N. HARPER - HELD
UNDER ADVISEMENT
Order entered Granting in part, Denying in part      11/9/2021     Adv Pro # 164
Summary Judgment Motion (Related Doc #
[157]) . It is GRANTED with respect to the
Debtor's request for damages for emotional
distress and DENIED on all other grounds
asserted. 3. The Directed Verdict Motion is
GRANTED. 3. The Debtor's requested relief for
sanctions against the Sheriff's Office pursuant to
Section 362 (k) of the Bankruptcy Code is
DENIED.
Memorandum Order. An Order consistent with           11/9/2021     Adv Pro # 165
this Memorandum will be entered.
Deposition of Barrington Whyte                       12/12/2019    See Attached.
Sheriff’s Responses to Requests for Admission                      See Attached.
Revised Trial Stipulations                                         See Attached.
Plaintiff’s Remote Witness List                                    See Attached.
Plaintiff’s Exhibit List: P1 to P60                                See Attached.
Plaintiff's Bates Stamped Trial Exhibit Binder                     See Attached.
with Exhibits labeled P1 through P60
Defendant's Exhibits: D1 to D30                                    See Attached.
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                              STATEMENT OF ISSUES PRESENTED



1. Whether the bankruptcy court erred in finding that evidence at trial failed to establish any actual
damages suffered by Plaintiff as a result of Defendants' violation of the automatic stay provided by
11 U.S.C. § 362(a)?


2. Whether the bankruptcy court erred in holding that a deaf and mute Plaintiff failed to prove
emotional distress damages he suffered as a result of Defendants' violations of the automatic stay
provided by 11 U.S.C. § 362(a) when Plaintiff is unable to testify on his own behalf due to his
disability, and evidence by caretaker/nephew testifying at length to personal observations of
Plaintiff indicated that a reasonable person would suffer significant emotional harm?


3. Whether the bankruptcy court erred in finding that the evidence of actual damage Plaintiff
suffered as a result of Defendant's conduct, produced by Plaintiff in opposition to Defendant's
Motion for Summary Judgment, failed to raise a genuine triable issue of fact pursuant to 11 U.S.C.
§ 362(k)(1)?

4. Whether the bankruptcy court was estopped from finding that there is no triable issue of fact on
the issue of actual damages, and granting partial summary judgment in favor of Defendant on that
issue, by virtue of its decision to conduct a trial on all issues?

5. Whether the bankruptcy court erred in failing to design court procedures in a manner that
excluded Plaintiff, Lyndel Toppin from court’s view when he was present during the entire
testimony of his next of friend, Barryington Whyte, thereby depriving Plaintiff, Lyndel Toppin from
emoting a non-verbal response that impacts Plaintiff’s credibility as a witness?


Dated: December 2, 2021

       By: /s/ Predrag Filipovic                      BY: /s/ Stephen M. Dunne
       Predrag Filipovic, Esquire                     Stephen M. Dunne, Esquire
       1635 Market Street, Suite 1600                 1515 Market Street, Suite 1200
       Philadelphia, PA 19103                         Philadelphia, PA 19102
       267-265-0520 Phone                             (215) 551-7109 Phone
       Attorney for Plaintiff                         Attorney for Plaintiff
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                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Lyndel Toppin                             :
146 S. 62nd Street                        :
Philadelphia, PA 19139                    :     CHAPTER 13
                                          :
        Debtor.                           :     Case No. 18-13098-MDC
_____________________________________________________________________________
                                          :
Lyndel Toppin                             :
                                          :
        Debtor/Plaintiff                  :
v.                                        :     Adv. Proc. No. 18-
                                          :
Jewell Williams                           :     JURY TRIAL DEMANDED
Sheriff of the City of Philadelphia       :
In his official capacity                  :
Land Title Building - Fifth Floor         :
100 South Broad Street                    :
Philadelphia, PA 19110                    :
                                          :
        Defendant.                        :

  COMPLAINT CONCERNING WILLFUL VIOLATIONS OF THE AUTOMATIC STAY
        BY DEFENDANT SHERIFF OF THE CITY OF PHILADELPHIA

TO THE HONORABLE BANKRUPTCY JUDGE: MAGDELINE D. COLEMAN:

       Mr. Toppin is a debtor in the above-stated bankruptcy and the Plaintiff in this adversary

proceeding. Defendant, Sheriff of the City of Philadelphia was included in Mr. Toppin’s

bankruptcy and provided copious bankruptcy notice on at least 12 occasions by postal mail;

facsimile; and telephone. Mr. Toppin was and is protected against Defendant’s employment of

process to recover a claim against the debtor that arose before the commencement of this case due

to the power of the automatic stay. Yet, more than six weeks after it was placed on notice and

knowledge of, Mr. Toppin’s bankruptcy, Defendant continues to employ process by sending armed




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Philadelphia Sheriff’s to the debtor’s personal residence on three (“3”) separate dates - May 18,

2018; May 24, 2018; and May 30, 2018 in order to post humiliating bright red “Notices to

Vacate,” on Mr. Toppin’s front door. And, Defendant continues to employ process by sending

armed Philadelphia Sheriff’s to the debtor’s personal residence on three (“3”) more separate dates

- June 1, 2018; June 5, 2018; and June 7, 2018 in order to post humiliating bright red “Eviction

Notices” on Mr. Toppin’s front door in violation of the automatic stay.


                               I.      JURISDICTION AND VENUE

       1.      Jurisdiction is conferred on this Court pursuant to the provisions of Section 1334 of

Title 28 of the United States Code in that this proceeding arises in and is related to the above-

captioned Chapter 7 case under Title 11 of the United States Code

       2.      This Court has both personal and subject matter jurisdiction to hear this case

pursuant to Section 1334 of Title 28 of the United States Code, Section 157(b)(2) of Title 28 of the

United States Code.

       3.      This matter is a core proceeding and therefore the Bankruptcy Court has

jurisdiction to enter a final order. However, in the unlikely event this case is determined to be a

non-core proceeding (which is denied by the Plaintiff) then and in that event the Plaintiff consents

to the entry of a final order by the Bankruptcy Judge.

       4.      Venue lies in this District pursuant to Section 1391(b) of Title 28 of the United

States Code.

                               II.     PARTIES

       5.      The Plaintiff in this case is a debtor under Chapter 13 of Title 11 of the United

States Code in case number 18-13098-MDC filed before this Court.




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       6.     Defendant is the Sheriff of the City of Philadelphia and is being sued in that

capacity. Defendant has an office located at Land Title Building - Fifth Floor, 100 South Broad

Street, Philadelphia, PA 19110.

                              III.   FACTUAL ALLEGATIONS

       7.     On May 8, 2018 at 6.04 PM, Mr. Lyndel Toppin filed a Chapter 13 bankruptcy

petition in a matter styled In re: Toppin, E.A. Pa. Bankr. No. 18-13098-MDC. See Ex. “A”.

       8.     It is indisputable that on May 8, 2018 at 6.27 PM Debtor’s Counsel provided the

Notice of Bankruptcy Case Filing to the Defendant via facsimile at 215-686-3555. See Ex. “B”.

       9.     It is indisputable that on May 8, 2018 at 6.28 PM Debtor’s Counsel provided the

Notice of Bankruptcy Case Filing to the Defendant via facsimile at 215-686-3971. See Ex. “C”.

       10.    It is indisputable that on May 9, 2018 Debtor’s Counsel telephoned Defendant at

215-686-3565 and provided oral Notice of Bankruptcy Case Filing. See Ex. “D”

       11.    It is indisputable that on May 10, 2018 at 11.28 AM Debtor’s Counsel provided the

Notice of Bankruptcy Case Filing to the Defendant via facsimile at 215-686-3555. See Ex. “E”

       12.    It is indisputable that on May 10, 2018 Debtor’s Counsel telephoned Defendant at

215-686-3565 and provided oral Notice of Bankruptcy Case Filing. See Ex. “D”

       13.    It is indisputable that on May 10, 2018 at 11.31 AM Debtor’s Counsel provided the

Notice of Bankruptcy Case Filing to the Defendant via facsimile at 215-686-3555. See Ex. “F”

       14.    It is indisputable that on May 15, 2018 Debtor’s Counsel telephoned Defendant at

215-686-3565 on two separate occasions and provided oral Notice of Bankruptcy Case Filing. See

Ex. “D”

       15.    It is indisputable that on May 31, 2018 that the Court served Official Form 309A -

Notice of Chapter 7 Bankruptcy Case -- No Proof of Claim Deadline on the Philadelphia Sheriff’s




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Office at its preferred mailing address. See Ex. “G”.

       16.     It is indisputable that on June 5, 2018 Debtor’s Counsel telephoned Defendant at

215-686-3565 and provided oral Notice of Bankruptcy Case Filing.

       17.     It is indisputable that on June 7, 2018 at 4.18 PM Debtor’s Counsel provided the

Notice of Bankruptcy Case Filing to the Defendant via facsimile at 215-686-3555. See Ex. “H”

       18.     It is indisputable that on June 7, 2018 Debtor’s Counsel telephoned Defendant at

215-686-3565 and provided oral Notice of Bankruptcy Case Filing. See Ex. “D”

       19.     Despite ample notice of the underlying bankruptcy, Defendant continues to violate

the statutory injunction imposed by 11 U.S.C. § 362 on at least six (“6”) separate occasions. See

Ex. I, J, K, L, M, and N.

       20.     There is a governmental interest in preventing the unique harm that occurs in

regard to violations of the Bankruptcy Code.

       21.     The Bankruptcy Code and the notices to Defendant, as stated above, place

Defendant on fair notice of the damages that may be imposed due to the violation of its orders and

injunctions, including the imposition of punitive damages.

       22.     The degree of reprehensibility of the collection practices and actions is high for the

reasons that (1) the financial vulnerability of the target, Mr. Toppin, is evident by his bankruptcy

filing, and (2) the harm is more than economic in nature. Core bankruptcy rights of Mr. Toppin

have been violated.

       23.     Mr. Toppin’s breathing spell has been thwarted. Should the collection practices and

actions of Defendant continue and/or succeed, the fresh start promised Mr. Toppin will be

imperiled.

       24.     The injury to Mr. Toppin, in terms of describing and understanding the full




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consequences of violating the core bankruptcy rights of Mr. Toppin, is hard to detect.

       25.     The full monetary value of non-economic harm associated with the collection

practices and actions of Defendant is difficult to determine.

       26.     The resources necessary to police the conduct of Defendant and to prevent the

unique harm that has occurred post-petition are lacking on the part of Mr. Toppin.

       27.     The above-stated collection practices or actions of Defendant have resulted and are

resulting in a substantial amount of undue frustration, anxiety and mental anguish or distress on

the part of Mr. Toppin, which is more than fleeting and inconsequential. The harm stated is

substantiated by the facts of this Complaint alone. Although not limited to the list below, the

distress has manifested itself as follows:

       A. Violation of the core bankruptcy rights and Constitutional rights.

       B. Headaches.

       C. Loss of sleep.

       D. Anxiety.

       E. Shock of conscience.

       F. Impaired enjoyment of life.

       G. A sense of dread.

       H. A sense of failure.

       I. A lack or diminution of self-worth.

       J. A significant amount of stress.

       K. Harassment.

       L. Distraction.

       M. A sense of embarrassment and discomfort that is greater than the general level of




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   embarrassment and discomfort felt in filing bankruptcy or for the inability to pay a debt or bill.



                        IV.     WILLFUL VIOLATION OF THE AUTOMATIC STAY

       28.     The filing of the bankruptcy case of Mr. Toppin constitutes, and constituted, an

order for relief pursuant to 11 U.S.C. § 301(b). This includes the imposition of the automatic stay

(which is similar to an injunction issued by this Court) pursuant to 11 U.S.C. § 362(a). Therefore,

the actions or conduct of Defendant violated, or are violating, 11 U.S.C. § 362(a)(1), (3), (4), (5),

and/or (6), for which there is no exception to the automatic stay pursuant to 11 U.S.C. § 362(b).

       29.     As stated and demonstrated in the Facts, above:

               a.      The eligibility of Mr. Toppin to be a debtor in bankruptcy is not in question.

               b.      His bankruptcy case is pending and his plan was submitted to the Court.

               c.      The automatic stay took effect immediately upon his file date and has

                       neither been terminated nor modified to permit the actions and conduct of

                       Defendant as complained herein.

               d.      The violations are willful for the reasons that (1) Defendant had notice and/

                       or knowledge of Mr. Toppin’s bankruptcy, and (2) the actions or conduct as

                       stated were, or are, intentional, whether or not there was, or is, a specific

                       intent to violate the automatic stay, or whether or not Defendant had a good

                       faith belief that it had a right to undertake the actions or conduct it has

                       actually undertaken.

               e.      Mr. Toppin suffered injury in fact as a result of the actions and conduct

                       stated for his core bankruptcy rights have been willfully violated.




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                                                 12/16/21 Page 32 of 102



       V.      ENFORCEMENT OF THE ORDER, INJUNCTIONS AND/OR RULES

       30.     Due to the conduct or action of Defendant, as described, it may become necessary

for this Court to take action to enforce the injunctions, orders and Bankruptcy Code provisions and

rules resulting from Mr. Toppin’s bankruptcy, including, but not limited to:

       a.      Finding Defendant in contempt for failing to abide by the orders, injunctions,

               Bankruptcy Code provisions and rules pursuant to 11 U.S.C. § 105;

       b.      Issuing any declaratory judgment to determine the threshold questions of law, facts,

               rights, claims, or debts of all parties to this adversary proceeding, the violations of

               Defendant, the jurisdiction of this Court and/or any actual controversy that may

               exist pursuant to 28 U.S.C. § 2201; and/or

       c.      Issuing any further or more specific injunctions to better define or curtail the acts or

               conduct of Defendant in the future pursuant to 11 U.S.C. § 105.


                                        VI.     DAMAGES

       31.     Pursuant to 11 U.S.C. § 362(k)(1) and/or § 105 the causes of action stated above

mandate the imposition of actual damages, and the consideration of punitive damages, including:

       a.      Personal Actual Damages: Actual damages to cover the value of any loss, any

               out-of-pocket expenses or cost incurred, including the value of the personal time of

               Mr. Toppin in having to deal with the conduct and actions of Defendant, and in

               having to participate in this adversary proceeding.

       b.      Attorneys’ Fees And Expenses As Actual Damages: It was necessary to employ

               Stephen M. Dunne and his law firm, Dunne Law Offices, P.C., to represent Mr.

               Toppin in advising, preparing and participating in this adversary proceeding.




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      Case 2:21-cv-05144-WBDocument   PageFiled
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                                                12/16/21 Page 33 of 102




    c.    Emotional Injuries As Actual Damages: The actual manifestations suffered by

          Mr. Toppin are detailed above for which the Court should consider to determine the

          proper amount of actual damages to compensate for his emotional injuries.

    d.    Punitive Damages: Punitive damages should be awarded to Mr. Toppin for the

          reasons that:

          i.     Appropriateness Per The U.S. Supreme Court Standard: Per the

                 Supreme Court of the United States, an award of punitive damages is

                 appropriate for the reasons that: (1) Defendant has received fair notice of

                 the possibility of an award of punitive damages; (2) as evidenced by his

                 bankruptcy, the financial vulnerability of Mr. Toppin is evident; (3) the

                 harm or injury inflicted on Mr. Toppin is more than economic in nature; (4)

                 if the conduct or actions of Defendant are allowed to succeed, it would

                 further imperil the fresh start of Mr. Toppin; (5) the injury in this case is

                 hard to detect; and/or (6) the monetary value of non-economic harm is

                 difficult to determine.


          ii.    Appropriateness Per The 3rd Circuit Standard : The 3rd Circuit Court of


                 Appeals has stated that an egregious conduct standard is at least appropriate

                 for an award of punitive damages. The Court defines egregious as conduct

                 which was “reckless” or “callous” indifference to the federally protected

                 rights of others. The conduct and action of Defendant, as highlighted in the

                 Facts, is at least reckless in light of its knowledge of Mr. Toppin’s




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                                                 12/16/21 Page 34 of 102



                         bankruptcy. Any serious contest of this adversary proceeding

                         by Defendant should be considered callous.

        e.        Prejudgment Interest : Any award of damages should contain an award of

                  prejudgment interest.

        f.        Post Judgment Interest : Any judgment issued by this Court should allow for the

                  accrual of interest for any unpaid balance at the rate for federal judgments, as based

                  on the average prices of U.S. Government Securities per 28 U.S.C. § 1961.

        WHEREFORE, PREMISES CONSIDERED, it is the prayer of Mr. Toppin that the Court

will:

        1.        Find that Defendant violated one or more of the automatic stay provisions in the

underlying bankruptcy;

        2.        Find that the violations of the automatic stay by Defendant were or are willful and/

or intentional;

        3.        Enforce the orders, rules and injunctions of this Court or the Bankruptcy Code or

Rules as necessary, including, but not limited to, a finding of contempt on the part of Defendant,

the issuance of any declaratory judgment, and/or the issuance of any injunction;

        4.        Sanction or award against Defendant all actual damages for all financial and non-

financial harm or injury incurred by Mr. Toppin;

        5.        Sanction or award against Defendant and to Mr. Toppin, and for the benefit of

Stephen M. Dunne, all of the attorneys’ fees, costs and expenses incurred with Stephen M. Dunne,

and the Dunne Law Offices, P.C., in representing Mr. Toppin in these matters;

        6.        Sanction or award against Defendant and to Mr. Toppin emotional distress

damages;




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       7.      Sanction or award against Defendant and to Mr. Toppin punitive damages;

       8.      Award prejudgment interest;

       9.      Award post judgment interest; and Grant any and all other relief in equity or in law

to which Mr. Toppin may be entitled.



                              V.      DEMAND FOR JURY TRIAL

Plaintiff is entitled to and hereby respectfully demands a trial by jury. Fed. R. Bankr. P. 9015(b).

                                                      Respectfully submitted:

Dated: June 11, 2018                                  BY: /s/ Stephen M. Dunne
                                                      Stephen M. Dunne, Esquire
                                                      1515 Market Street, Suite. 1200
                                                      Philadelphia, PA 19102
                                                      (215) 551-7109 Phone
                                                      Fax: (215) 525-9721
                                                      Email: stephen@dunnelawoffices.com




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                                                                                                         Stephen Dunne <stephen@dunnelawoffices.com>



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  Book/Writ1707-5002
  1 message

  NoReply@myfax.com <NoReply@myfax.com>                                                                                       Tue, May 8, 2018 at 6:27 PM
  To: stephen@dunnelawoffices.com


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                      The MyFax Team




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                                                                                                         Stephen Dunne <stephen@dunnelawoffices.com>



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Voice Outgoing   Softphone (215) 686-3565 101 - Stephen Dunne                     Tue 05/15/2018   11:31 AM VoIP Call Call connected                             0:00:14        0 -

Voice Outgoing   Softphone (215) 686-3565 101 - Stephen Dunne                     Tue 05/15/2018   11:27 AM VoIP Call Call connected                             0:01:05        0 -

Voice Outgoing   Softphone (215) 686-3565 101 - Stephen Dunne                     Thu 05/10/2018   11:15 AM VoIP Call Call connected                             0:13:24        0 -

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                                                                                                         Stephen Dunne <stephen@dunnelawoffices.com>



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                                                                                                         Stephen Dunne <stephen@dunnelawoffices.com>



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                                Certificate of Notice Page 1 of 3
                                              United States Bankruptcy Court
                                            Eastern District of Pennsylvania
In re:                                                                                                     Case No. 18-13098-mdc
Lyndel Toppin                                                                                              Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0313-2                  User: dlv                          Page 1 of 1                          Date Rcvd: May 29, 2018
                                      Form ID: 309I                      Total Noticed: 19


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 31, 2018.
db             +Lyndel Toppin,   146 S. 62nd Street,     Philadelphia, PA 19139-2928
14104029       +Abdeldayem Hassan,    309 Barker Avenue,    Lansdowne, PA 19050-1215
14104033       +City of Philadelphia,    Lockbox # 1087,    PO BOX 8500,   Philadelphia, PA 19178-8500
14104035       +FIRST FEDERAL CREDIT & COLLECTIONS,    24700 CHAGRIN BLVD,    SUITE 205,
                 CLEVELAND, OH 44122-5662
14104036       +FIRST FEDERAL CREDIT & COLLECTIONS,    24700 CHAGRIN BLVD STE 2,     CLEVELAND, OH 44122-5662
14104037       +GRB Law,   1425 Spruce Street,    Suite 100,    Philadelphia, PA 19102-4578
14104038        Philadelphia Court of Common Pleas,    Philadelphia City Hall,    Philadelphia, PA 19107
14104039       +Philadelphia Department of Revenue,    1401 John K. Kennedy Blvd.,     Concourse Level,
                 Philadelphia, PA 19102-1613
14104041       +Philadelphia Sheriff’s Office,    100 S. Broad Street,    5th Floor,
                 Philadelphia, PA 19110-1023

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: bestcasestephen@gmail.com May 30 2018 02:05:47        STEPHEN MATTHEW DUNNE,
                 Dunne Law Offices, P.C.,    1515 Market Street,    Suite 1200,    Philadelphia, PA 19102,
                 U.S.A.
tr             +E-mail/Text: bncnotice@ph13trustee.com May 30 2018 02:06:51        WILLIAM C. MILLER, Esq.,
                 Chapter 13 Trustee,   P.O. Box 1229,     Philadelphia, PA 19105-1229
smg             E-mail/Text: bankruptcy@phila.gov May 30 2018 02:06:35        City of Philadelphia,
                 City of Philadelphia Law Dept.,    Tax Unit/Bankruptcy Dept,     1515 Arch Street 15th Floor,
                 Philadelphia, PA 19102-1595
smg             E-mail/Text: RVSVCBICNOTICE1@state.pa.us May 30 2018 02:06:09
                 Pennsylvania Department of Revenue,     Bankruptcy Division,    P.O. Box 280946,
                 Harrisburg, PA 17128-0946
smg            +E-mail/Text: usapae.bankruptcynotices@usdoj.gov May 30 2018 02:06:23        U.S. Attorney Office,
                 c/o Virginia Powel, Esq.,    Room 1250,    615 Chestnut Street,    Philadelphia, PA 19106-4404
ust            +E-mail/Text: ustpregion03.ph.ecf@usdoj.gov May 30 2018 02:06:15        United States Trustee,
                 Office of the U.S. Trustee,    833 Chestnut Street,    Suite 500,    Philadelphia, PA 19107-4405
14104031        EDI: CAPITALONE.COM May 30 2018 06:03:00       CAPITAL ONE,    15000 CAPITAL ONE DR,
                 RICHMOND, VA 23238
14104030       +EDI: CAPITALONE.COM May 30 2018 06:03:00       CAPITAL ONE,    ATTN: BANKRUPTCY,    PO BOX 30285,
                 SALT LAKE CITY, UT 84130-0285
14104032        E-mail/Text: bankruptcy@phila.gov May 30 2018 02:06:35        City of Philadelphia,
                 1515 Arch Street,   Law Department, 15th Floor,     Philadelphia, PA 19102
14104034        E-mail/Text: bankruptcy@phila.gov May 30 2018 02:06:35        City of Philadelphia,
                 Attn: James Zwolak,   1401 JFK Blvd., 5th Floor,     Philadelphia, PA 19102
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             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
14104040*        +Philadelphia Department of Revenue,   1401 John K. Kennedy Blvd.,                       Concourse Level,
                   Philadelphia, PA 19102-1613
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Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 31, 2018                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 21, 2018 at the address(es) listed below:
              STEPHEN MATTHEW DUNNE   on behalf of Debtor Lyndel Toppin bestcasestephen@gmail.com,
               dunnesr74587@notify.bestcase.com
              United States Trustee   USTPRegion03.PH.ECF@usdoj.gov
              WILLIAM C. MILLER, Esq.   ecfemails@ph13trustee.com, philaecf@gmail.com
                                                                                            TOTAL: 3


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       18-13098-mdc    DocDoc
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                            Certificate of Notice Page 2 of 3
Information to identify the case:
Debtor 1                 Lyndel Toppin                                                          Social Security number or ITIN    xxx−xx−2550

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Eastern District of Pennsylvania
                                                                                                Date case filed for chapter 13 5/8/18
Case number:          18−13098−mdc



Official Form 309I
Notice of Chapter 13 Bankruptcy Case
**Debtor's Photo ID &Social Security Card Must Be Presented at 341 Hearing**                                                                           12/15

For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Lyndel Toppin

2. All other names used in the
   last 8 years
                                              146 S. 62nd Street
3. Address                                    Philadelphia, PA 19145
                                              STEPHEN MATTHEW DUNNE                                         Contact phone 215−551−7109
                                              Dunne Law Offices, P.C.
4. Debtor's  attorney
   Name and address
                                              1515 Market Street
                                              Suite 1200
                                                                                                            Email: bestcasestephen@gmail.com

                                              Philadelphia, PA 19102
                                              U.S.A.

5. Bankruptcy trustee                         WILLIAM C. MILLER, Esq.                                       Contact phone 215−627−1377
     Name and address                         Chapter 13 Trustee
                                              P.O. Box 1229                                                 Email: ecfemails@ph13trustee.com
                                              Philadelphia, PA 19105

6. Bankruptcy clerk's office                                                                                Hours open:
     Documents in this case may be filed                                                                    Philadelphia Office −− 8:30 A.M. to 5:00 P.M
     at this address.                         900 Market Street                                             Reading Office −− 8:00 A.M. to 4:30 P.M.
     You may inspect all records filed in     Suite 400
     this case at this office or online at    Philadelphia, PA 19107                                        Contact phone (215)408−2800
      www.pacer.gov.
                                                                                                            Date: 5/29/18

                                                                                                                  For more information, see page 2


Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                               page 1




                                                                                                                                                                36
     Case
  Case    18-00137-mdc
          Case
       18-13098-mdc    DocDoc
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                                 Exhibit G    Page  3  of 3
                            Certificate of Notice Page 3 of 3
Debtor Lyndel Toppin                                                                                                                     Case number 18−13098−mdc

7. Meeting of creditors                                                                                                Location:
   Debtors must attend the meeting to     July 11, 2018 at 1:30 PM                                                     Suite 18−341, 1234 Market Street,
   be questioned under oath. In a joint                                                                                Philadelphia, PA 19107
   case, both spouses must attend.
   Creditors may attend, but are not      The meeting may be continued or adjourned to a later date. If
   required to do so.                     so, the date will be on the court docket.
8. Deadlines                               Deadline to file a complaint to challenge                                     Filing deadline: 9/9/18
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following    You must file:
   deadlines.                              • a motion if you assert that the debtors are not entitled to receive a discharge
                                             under U.S.C. § 1328(f), or

                                           • a complaint if you want to have a particular debt excepted from discharge
                                             under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                           Filing deadline: 7/17/18
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                            Filing deadline: 11/4/18
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                           proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                             Filing deadline:      30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                  conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                   meeting of creditors
                                           may file an objection.

9. Filing of plan                         The debtor has filed a plan. This plan proposes payment to the trustee of 200.00 per month for 60 months. The plan or a summary
                                          of the plan is enclosed. The hearing on confirmation will be held on:
                                          8/2/18 at 9:30 AM , Location: Courtroom #2, 900 Market Street, Philadelphia, PA 19107
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you
                                           later, and if the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation
                                           hearing. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                           unless the court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                           You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law
                                           does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                           you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion. The bankruptcy clerk's office must receive the objection by the deadline to object to
                                           exemptions in line 8.




Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                                         page 2




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6/7/2018              Case  18-00137-mdc
                           Case
                        Dunne      2:21-cv-05144-WB
                              Law Offices,              Doc 1-8
                                           P.C. Mail - Successful        Filed
                                                                       Document
                                                                  transmission     06/11/18
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                                                                               to 12156863555.    Entered
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                                                                                                                                           62nd Street, Phila, PA 19145
                                                                     Exhibit H Page 1 of 1

                                                                                                         Stephen Dunne <stephen@dunnelawoffices.com>



  Successful transmission to 12156863555. Re: Notice of Bankruptcy Case Filing - 146
  S. 62nd Street, Phila, PA 19145
  1 message

  NoReply@myfax.com <NoReply@myfax.com>                                                                                            Thu, Jun 7, 2018 at 4:18 PM
  To: stephen@dunnelawoffices.com


    The fax you sent through MyFax to 12156863555 was successfully transmitted.




                      Hi Stephen,                            Re: Notice of Bankruptcy Case Filing - 146 S. 62nd Street, Phila, PA 19145


                      The fax you sent through MyFax to 12156863555 was successfully transmitted.


                        Fax Details


                        Date:                                                     2018-06-07 20:18:07 (GMT)
                        Number of Pages:                                          2
                        Length of Transmission:                                   113 seconds
                        Receiving Machine Fax ID:                                 111



                      If you have any questions, please call (866) 563-9212 or visit our online help center at
                      www.myfax.com/support. Thank you for using the MyFax service.

                      Sincerely,
                      The MyFax Team




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                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Lyndel Toppin                             :
146 S. 62nd Street                        :
Philadelphia, PA 19139                    :     CHAPTER 13
                                          :
        Debtor.                           :     Case No. 18-13098-MDC
_____________________________________________________________________________
                                          :
Lyndel Toppin                             :
        Debtor/Plaintiff                  :
v.                                        :     Adv. Proc. No. 18-00137-MDC
                                          :
Jewell Williams                           :     JURY TRIAL DEMANDED
Sheriff of the City of Philadelphia       :
In his official capacity                  :
Land Title Building - Fifth Floor         :
100 South Broad Street                    :
Philadelphia, PA 19110                    :
        Defendant.                        :
and,                                      :
                                          :
Abdeldayem Hassan a/k/a Abdeldyem Hassan  :
309 Barker Avenue                         :
Lansdowne, PA 19050                       :
        Defendant.                        :


AMENDED COMPLAINT CONCERNING WILLFUL VIOLATIONS OF THE AUTOMATIC
    STAY BY DEFENDANTS SHERIFF OF THE CITY OF PHILADELPHIA AND
            ABDELDAYEM HASSAN A/K/A ABDELDYEM HASSAN

TO THE HONORABLE BANKRUPTCY JUDGE: MAGDELINE D. COLEMAN:

       Mr. Toppin is a debtor in the above-stated bankruptcy and the Plaintiff in this adversary

proceeding. Defendant, Sheriff of the City of Philadelphia was included in Mr. Toppin’s bankruptcy

and provided copious bankruptcy notice on at least 12 occasions by postal mail; facsimile; and

telephone. Defendant, Abdeldayem Hassan a/k/a Abdeldyem Hassan was also provided bankruptcy




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notice by postal mail and telephone. Mr. Toppin was and is protected against Defendants employment

of process to recover a claim against the debtor that arose before the commencement of this case due

to the power of the automatic stay. Yet, more than six weeks after it was placed on notice and

knowledge of, Mr. Toppin’s bankruptcy, Defendants continue to employ process by sending armed

Philadelphia Sheriff’s to the debtor’s personal residence on six (“6”) separate occasions in direct

contravention of 11 U.S.C. § 362(a), (the automatic stay) and with the express orders of this court.

       Mr. Toppin filed a Chapter 13 bankruptcy on May 8, 2018 at 6.04 PM and immediately

notified the Defendants. Despite copious notice, the Defendants continued their enforcement of the

pre-petition judgment by visiting the debtor’s personal residence on May 18, 2018; May 24, 2018;

and May 30, 2018 in order to post humiliating bright red “Notices to Vacate,” on Mr. Toppin’s front

door; and again on June 1, 2018; June 5, 2018; and June 7, 2018 in order to post humiliating bright

red “Eviction Notices” on Mr. Toppin’s front door ordering Mr. Toppin to vacate the premises no later

than June 25, 2018 and informing Mr. Toppin that the Sheriff would be levying any property located at

146 S. 62nd Street, Philadelphia, PA 19139 to satisfy the Judgement for Possession. These actions

were all in violation of the automatic stay, which goes into effect the moment a bankruptcy petition is

filed. The actions of the Defendants fall squarely within the prohibitions of at least three subsections

of 11 U.S.C. § 362(a) including:

          (1) the commencement or continuation, including the issuance or employment of process, of
              a judicial, administrative, or other proceeding against the debtor that was or could have
              been commenced before the commencement of the case under this title, or to recover a
              claim against the debtor that arose before the commencement of the case under this title;

          (2) the enforcement, against the debtor or against property of the estate, of a judgment
              obtained before the commencement of the case under this title;

          (3) any act to obtain possession of property of the estate or of property from the estate.




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                               I.          JURISDICTION AND VENUE

       1.      Jurisdiction is conferred on this Court pursuant to the provisions of Section 1334 of

Title 28 of the United States Code in that this proceeding arises in and is related to the above-

captioned Chapter 7 case under Title 11 of the United States Code.

       2.      This Court has both personal and subject matter jurisdiction to hear this case pursuant

to 28 U.S.C. § 1334 and 28 U.S.C. § 157(b)(2).

       3.      This matter is a core proceeding and therefore the Bankruptcy Court has jurisdiction to

enter a final order. However, in the unlikely event this case is determined to be a non-core proceeding

(which is denied by the Plaintiff) then and in that event the Plaintiff consents to the entry of a final

order by the Bankruptcy Judge.

       4.      Venue lies in this District pursuant to 28 U.S.C. § 1391(b).

                               II.         PARTIES

       5.      The Plaintiff in this case is a debtor under Chapter 13 of Title 11 of the United States

Code in case number 18-13098-MDC filed before this Court.

       6.      Defendant is the Sheriff of the City of Philadelphia (“Sheriff”) and is being sued in that

capacity. Defendant has an office located at Land Title Building - Fifth Floor, 100 South Broad Street,

Philadelphia, PA 19110.

       7.      Defendant Abdeldayem Hassan a/k/a Abdeldyem Hassan (“Hassan”) is an adult

individual residing at 309 Barker Avenue, Lansdowne, PA 19050.

                                    III.    FACTUAL ALLEGATIONS

       8.      On May 7, 2018 at 12.00 PM, Debtor’s Counsel and Debtor visited the Sheriff at 100

South Broad Street, 5th Floor, Philadelphia, PA and requested the contact information for (“Hassan”)

for the purposes of transmitting a Notice of Bankruptcy Case Filing. See Ex. “O”.




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       9.     On May 8, 2018 at 6.04 PM, Mr. Lyndel Toppin filed a Chapter 13 bankruptcy petition

in a matter styled In re: Toppin, E.A. Pa. Bankr. No. 18-13098-MDC. See Ex. “A”.

       10.    It is indisputable that on May 8, 2018, Debtor’s Counsel provided the Notice of

Bankruptcy Case Filing to Hassan at the mailing address provided by the Sheriff as well via text

message by converting the Notice of Bankruptcy Case Filing from PDF format into JPEG format and

transmitting to Hassan’s mobile phone which was also provided by the Sheriff. See Ex. “O”.

       11.    It is indisputable that on May 8, 2018 at 6.27 PM Debtor’s Counsel provided the

Notice of Bankruptcy Case Filing to the Sheriff via facsimile at 215-686-3555. See Ex. “B”.

       12.    It is indisputable that on May 8, 2018 at 6.28 PM Debtor’s Counsel provided the

Notice of Bankruptcy Case Filing to the Sheriff via facsimile at 215-686-3971. See Ex. “C”.

       13.    It is indisputable that on May 9, 2018 Debtor’s Counsel telephoned Sheriff at

215-686-3565 and provided oral Notice of Bankruptcy Case Filing. See Ex. “D”.

       14.    It is indisputable that on May 10, 2018 at 11.28 AM Debtor’s Counsel provided the

Notice of Bankruptcy Case Filing to the Sheriff via facsimile at 215-686-3555. See Ex. “E”.

       15.    It is indisputable that on May 10, 2018 Debtor’s Counsel telephoned Sheriff at

215-686-3565 and provided oral Notice of Bankruptcy Case Filing. See Ex. “D”.

       16.    It is indisputable that on May 10, 2018 at 11.31 AM Debtor’s Counsel provided the

Notice of Bankruptcy Case Filing to the Sheriff via facsimile at 215-686-3555. See Ex. “F”.

       17.    It is indisputable that on May 15, 2018 Debtor’s Counsel telephoned Sheriff at

215-686-3565 on two separate occasions and provided oral Notice of Bankruptcy Case Filing. See Ex.

“D”.

       18.    It is indisputable that on May 31, 2018 that the Court served Official Form 309A -

Notice of Chapter 7 Bankruptcy Case -- No Proof of Claim Deadline on both Defendants at their




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preferred mailing addresses. See Ex. “G”.

       19.     It is indisputable that on June 5, 2018 Debtor’s Counsel telephoned Sheriff at

215-686-3565 and provided oral Notice of Bankruptcy Case Filing.

       20.     It is indisputable that on June 7, 2018 at 4.18 PM Debtor’s Counsel provided the

Notice of Bankruptcy Case Filing to the Sheriff via facsimile at 215-686-3555. See Ex. “H”.

       21.     It is indisputable that on June 7, 2018 Debtor’s Counsel telephoned Sheriff at

215-686-3565 and provided oral Notice of Bankruptcy Case Filing. See Ex. “D”.

       22.     It is indisputable that on June 15, 2018 Debtor’s Counsel telephoned Hassan and

provided oral Notice of Bankruptcy Case Filing. See Ex. “P”.

       23.     Despite ample notice of the underlying bankruptcy, Defendants continue to violate the

statutory injunction imposed by 11 U.S.C. § 362 on at least six (“6”) separate occasions. See Ex. “I”,

“J", “K”, “L”, “M”, and “N”.

       24.     The automatic stay at 11 U.S.C. § 362(a) requires Defendants to take positive action

necessary to give effect to the automatic stay. No action is unacceptable; no action is action to thwart

the effectiveness of the automatic stay.

       25.     Part of what is stayed in 11 U.S.C. § 362 is "continuation." Certainly a suit for Writ of

Possession of Real Property is a judicial proceeding against the Debtor within the purview of § 362(a)

(1). The Issuance of a Writ of Possession of Real Property is the enforcement, against the Debtor, of a

judgment obtained before the commencement of the bankruptcy case within the scope of § 362(a)(2).

The eviction of the Debtor from their residence is an act to take possession of property of the estate,

that is, to take possession of the Debtor’s possessory and leasehold interest in the property, prohibited

by § 362(a)(3).

       26.     Not only does the statutory language encompass the actions of the landlord Defendant,




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but any remaining question or doubt as to the impropriety of the Defendant's conduct has been

dispelled by numerous court decisions proscribing this type of creditor action. These decisions have

upheld the rights of Debtors in the face of creditor violation of the automatic stay.

       27.     It is implied in § 362 that a creditor is under an obligation to maintain the status quo as

of the moment of the filing of the petition and to take whatever affirmative action is necessary to do

so.

       28.     The Defendants have done nothing to reverse their actions and restore the status quo.

       29.     Defendant, Hassan is the Creditor who is in the driver’s seat and very much controls

what is done thereafter if it chooses. If the "continuation" is to be stayed, Hassan cannot choose to do

nothing and pass the buck. Positive action on the part of the creditor is necessary so that

"continuation" may be stayed.

       30.     Defendant, Hassan could have stopped the continuing violations of the automatic stay

by dismissing the Writ of Possession of Real Property.

       31.     Defendant, Hassan could have advised the Sheriff that until further notice by reason of

the automatic stay that the Writ of Possession of Real Property should be suspended.

       32.     Defendants passed the buck and failed to take positive actions in violation of the

automatic stay, 11 U.S.C. § 362.

       33.     There is a governmental interest in preventing the unique harm that occurs in regard to

violations of the Bankruptcy Code.

       34.     The Bankruptcy Code and the notices to Defendants, as stated above, place Defendants

on fair notice of the damages that may be imposed due to the violation of its orders and injunctions,

including the imposition of punitive damages.




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        35.      The degree of reprehensibility of the collection practices and actions is high for the

reasons that (1) the financial vulnerability of the target, Mr. Toppin, is evident by his bankruptcy

filing, and (2) the harm is more than economic in nature. Core bankruptcy rights of Mr. Toppin have

been violated.

        36.      Mr. Toppin’s breathing spell has been thwarted. Should the collection practices and

actions of Defendants’ continue and/or succeed, the fresh start promised Mr. Toppin will be imperiled.

        37.      The injury to Mr. Toppin, in terms of describing and understanding the full

consequences of violating the core bankruptcy rights of Mr. Toppin, is hard to detect.

        38.      The full monetary value of non-economic harm associated with the collection practices

and actions of Defendants’ are difficult to determine.

        39.      The resources necessary to police the conduct of Defendants’ and to prevent the unique

harm that has occurred post-petition are lacking on the part of Mr. Toppin.

        40.      The above-stated collection practices or actions of Defendants’ have resulted and are

resulting in a substantial amount of undue frustration, anxiety and mental anguish or distress on the

part of Mr. Toppin, which is more than fleeting and inconsequential. The harm stated is substantiated

by the facts of this Complaint alone. Although not limited to the list below, the distress has manifested

itself as follows:

        A. Violation of the core bankruptcy rights and Constitutional rights.

        B. Headaches.

        C. Loss of sleep.

        D. Anxiety.

        E. Shock of conscience.

        F. Impaired enjoyment of life.




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       G. A sense of dread.

       H. A sense of failure.

       I. A lack or diminution of self-worth.

       J. A significant amount of stress.

       K. Harassment.

       L. Distraction.

       M. A sense of embarrassment and discomfort that is greater than the general level of

   embarrassment and discomfort felt in filing bankruptcy or for the inability to pay a debt or bill.



                          IV.     WILLFUL VIOLATION OF THE AUTOMATIC STAY

       41.     The filing of the bankruptcy case of Mr. Toppin constitutes, and constituted, an order

for relief pursuant to 11 U.S.C. § 301(b). This includes the imposition of the automatic stay (which is

similar to an injunction issued by this Court) pursuant to 11 U.S.C. § 362(a). Therefore, the actions or

conduct of Defendants’ violated, or are violating, 11 U.S.C. § 362(a)(1), (3), (4), (5), and/or (6), for

which there is no exception to the automatic stay pursuant to 11 U.S.C. § 362(b).

       42.     As stated and demonstrated in the Facts, above:

               a.      The eligibility of Mr. Toppin to be a debtor in bankruptcy is not in question.

               b.      His bankruptcy case is pending and his plan was submitted to the Court.

               c.      The automatic stay took effect immediately upon his file date and has

                       neither been terminated nor modified to permit the actions and conduct of

                       Defendants’ as complained herein.

               d.      The violations are willful for the reasons that (1) Defendants’ had notice and/

                       or knowledge of Mr. Toppin’s bankruptcy, and (2) the actions or conduct as




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                      stated were, or are, intentional, whether or not there was, or is, a specific

                      intent to violate the automatic stay, or whether or not Defendants’ had a good

                      faith belief that it had a right to undertake the actions or conduct it has

                      actually undertaken.

               e.     Mr. Toppin suffered injury in fact as a result of the actions and conduct

                      stated for his core bankruptcy rights have been willfully violated.



         V.     ENFORCEMENT OF THE ORDER, INJUNCTIONS AND/OR RULES

       43.     Due to the conduct or action of Defendants, as described, it may become necessary for

this Court to take action to enforce the injunctions, orders and Bankruptcy Code provisions and rules

resulting from Mr. Toppin’s bankruptcy, including, but not limited to:

       a.      Finding Defendants’ in contempt for failing to abide by the orders, injunctions,

               Bankruptcy Code provisions and rules pursuant to 11 U.S.C. § 105;

       b.      Issuing any declaratory judgment to determine the threshold questions of law, facts,

       rights, claims, or debts of all parties to this adversary proceeding, the violations of

       Defendants, the jurisdiction of this Court and/or any actual controversy that may

       exist pursuant to 28 U.S.C. § 2201; and/or

       c.      Issuing any further or more specific injunctions to better define or curtail the acts or

       conduct of Defendants in the future pursuant to 11 U.S.C. § 105.




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                                          VI.     DAMAGES

       44.    Pursuant to 11 U.S.C. § 362(k)(1) and/or § 105 the causes of action stated above

mandate the imposition of actual damages, and the consideration of punitive damages, including:

       a.     Personal Actual Damages: Actual damages to cover the value of any loss, any

              out-of-pocket expenses or cost incurred, including the value of the personal time of

              Mr. Toppin in having to deal with the conduct and actions of Defendants, and in

              having to participate in this adversary proceeding.

       b.     Attorneys’ Fees And Expenses As Actual Damages: It was necessary to employ

              Stephen M. Dunne and his law firm, Dunne Law Offices, P.C., to represent Mr.

              Toppin in advising, preparing and participating in this adversary proceeding.

       c.     Emotional Injuries As Actual Damages: The actual manifestations suffered by

              Mr. Toppin are detailed above for which the Court should consider to determine the

              proper amount of actual damages to compensate for his emotional injuries.

       d.     Punitive Damages: Punitive damages should be awarded to Mr. Toppin for the

              reasons that:

              i.      Appropriateness Per The U.S. Supreme Court Standard: Per the

                      Supreme Court of the United States, an award of punitive damages is

                      appropriate for the reasons that: (1) Defendants have received fair notice of

                      the possibility of an award of punitive damages; (2) as evidenced by his

                      bankruptcy, the financial vulnerability of Mr. Toppin is evident; (3) the

                      harm or injury inflicted on Mr. Toppin is more than economic in nature; (4)

                      if the conduct or actions of Defendants are allowed to succeed, it would

                      further imperil the fresh start of Mr. Toppin; (5) the injury in this case is




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                       hard to detect; and/or (6) the monetary value of non-economic harm is

                       difficult to determine.


               ii.    Appropriateness Per The 3rd Circuit Standard : The 3rd Circuit Court of


                      Appeals has stated that an egregious conduct standard is at least appropriate

               f      or an award of punitive damages. The Court defines egregious as conduct

                      which was “reckless” or “callous” indifference to the federally protected

                      rights of others. The conduct and action of Defendants, as highlighted in the

                      Facts, is at least reckless in light of its knowledge of Mr. Toppin’s

                      bankruptcy. Any serious contest of this adversary proceeding

                      by Defendants should be considered callous.

       e.      Prejudgment Interest : Any award of damages should contain an award of

               prejudgment interest.

       f.      Post Judgment Interest : Any judgment issued by this Court should allow for the

               accrual of interest for any unpaid balance at the rate for federal judgments, as based

               on the average prices of U.S. Government Securities per 28 U.S.C. § 1961.

       WHEREFORE, PREMISES CONSIDERED, it is the prayer of Mr. Toppin that the Court will:

       1.      Find that Defendants violated one or more of the automatic stay provisions in the

underlying bankruptcy;

       2.      Find that the violations of the automatic stay by Defendants were or are willful and/or

intentional;

       3.      Enforce the orders, rules and injunctions of this Court or the Bankruptcy Code or Rules

as necessary, including, but not limited to, a finding of contempt on the part of Defendants, the




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issuance of any declaratory judgment, and/or the issuance of any injunction;

       4.      Sanction or award against Defendants all actual damages for all financial and non-

financial harm or injury incurred by Mr. Toppin;

       5.      Sanction or award against Defendants and to Mr. Toppin, and for the benefit of Stephen

M. Dunne, all of the attorneys’ fees, costs and expenses incurred with Stephen M. Dunne, and the

Dunne Law Offices, P.C., in representing Mr. Toppin in these matters;

       6.      Sanction or award against Defendants and to Mr. Toppin emotional distress damages;

       7.      Sanction or award against Defendants and to Mr. Toppin punitive damages;

       8.      Award prejudgment interest;

       9.      Award post judgment interest; and Grant any and all other relief in equity or in law to

which Mr. Toppin may be entitled.

                                V.      DEMAND FOR JURY TRIAL

Plaintiff is entitled to and hereby respectfully demands a trial by jury. Fed. R. Bankr. P. 9015(b).

                                                      Respectfully submitted:

Dated: June 15, 2018                                  BY: /s/ Stephen M. Dunne
                                                      Stephen M. Dunne, Esquire
                                                      1515 Market Street, Suite. 1200
                                                      Philadelphia, PA 19102
                                                      (215) 551-7109 Phone
                                                      Fax: (215) 525-9721
                                                      Email: stephen@dunnelawoffices.com




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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

------------------------------------------------------x
In re:                                                :
                                                      :   Chapter 13
LYNDEL TOPPIN,                                        :
                                                      :   Bankruptcy No. 18-13098 (MDC)
                  Debtor.                             :
------------------------------------------------------x
------------------------------------------------------x
                                                      :
LYNDEL TOPPIN,                                        :
                                                      :   Adv. Pro. No. 18-00137 (MDC)
                  Plaintiff,                          :
                                                      :
                  v.                                  :
                                                      :
JEWELL WILLIAMS SHERIFF                               :
OF THE CITY OF PHILADELPHIA and :
ABDELDAYEM HASSAN a/k/a                               :
ABDELDYEM HASSAN,                                     :
                                                      :
                  Defendant                           :
------------------------------------------------------x

ANSWER TO AMENDED COMPLAINT CONCERNING WILLFUL VIOLATIONS OF
    THE AUTOMATIC STAY BY DEFENDANTS SHERIFF OF THE CITY OF
  PHILADELPHIA AND ABDELDAYEM HASSAN A/K/A ABDELDYEM HASSAN

        AND NOW COMES Jewell Williams, Sheriff of the City of Philadelphia (the “Sheriff”),

by and through his Counsel, Megan N. Harper, Deputy City Solicitor, to answer the Amended

Complaint Concerning Willful Violations of the Automatic Stay by Defendants Sheriff of the City

of Philadelphia and Abdeldayem Hassan a/k/a Abdeldyem Hassan (the “Adversary Complaint”)

filed by Lyndel Toppin (the “Debtor”). The Sheriff avers the following in support thereof:

        The allegations set forth in the prefatory statement of the Adversary Complaint are

conclusions of law to which no response is required. To the extent a response is required, the

allegations are denied and strict proof thereof is demanded at time of trial.




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                                I.      JURISDICTION AND VENUE

        1.      Denied as stated. This proceeding does not arise and is not related to a Chapter 7

case under Title 11 of the United States Code.

        2.      Admitted in part. Denied in part. It is admitted only that this Court has subject

matter jurisdiction to hear this case pursuant to 28 U.S.C. § 1334 and 28 U.S.C. § 157(b)(2). It is

specifically denied that 28 U.S.C. § 1334 and 28 U.S.C. § 157(b)(2) grants the Court personal

jurisdiction.

        3.      Denied. The allegations of paragraph 3 are conclusions of law to which no response

is required. To the extent a response is required, the allegations are denied and strict proof thereof

is demanded at time of trial.

        4.      Denied. It is denied that venue lies in this Court pursuant to 28 U.S.C. § 1391(b).

                                          II.    PARTIES

        5.      Admitted.

        6.      Admitted.

        7.      Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 7. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

                                 III.   FACTUAL ALLEGATIONS

        8.      Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 8. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

        9.      Admitted.




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       10.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 10. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       11.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 11. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       12.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 12. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       13.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 13. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       14.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 14. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       15.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 15. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       16.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 16. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.




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       17.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 17. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       18.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 18. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       19.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 19. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       20.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 20. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       21.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 21. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       22.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 22. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       23.     Denied. The allegations of paragraph 23 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

       24.     Denied. It is specifically denied that the automatic stay at 11 U.S.C. § 362(a)

required the Sheriff to take positive action necessary to give effect to the automatic stay. By way




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of further response, the allegations of paragraph 24 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

        25.      Denied. It is specifically denied that the automatic stay at 11 U.S.C. § 362 stayed

the Issuance of a Writ of Possession of Real Property in this instance as the Writ was issued May

7, 2018, the day before the Debtor petitioned for Chapter 13 relief. By way of further response,

the allegations of paragraph 25 contain conclusions of law to which no response is required. To

the extent a response is required, the allegations are denied and strict proof thereof is demanded at

time of trial.

        26.      Denied. The allegations of paragraph 26 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

        27.      Denied. It is specifically denied that the Sheriff is a creditor of the Debtor. By way

of further response, the allegations of paragraph 27 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

        28.      Denied. The allegations of paragraph 28 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

        29.      Denied. The allegations of paragraph 29 are not directed to the Sheriff, accordingly,

no response is required.

        30.      Denied. The allegations of paragraph 30 are not directed to the Sheriff,

accordingly, no response is required.




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       31.     Denied. The allegations of paragraph 31 are not directed to the Sheriff, accordingly,

no response is required.

       32.     Denied. The allegations of paragraph 32 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

       33.     Denied. The allegations of paragraph 33 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

       34.     Denied. The allegations of paragraph 34 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

       35.     Denied. The allegations of paragraph 35 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

       36.     Denied. The allegations of paragraph 36 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

       37.     Denied. The allegations of paragraph 37 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

       38.     Denied. The allegations of paragraph 38 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.




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       39.     Denied. The allegations of paragraph 39 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

       40(A) – (M). Denied. The allegations of paragraphs 40(A) through (M) contain

conclusions of law to which no response is required. To the extent a response is required, the

allegations are denied and strict proof thereof is demanded at time of trial.

               IV.     WILLFUL VIOLATION OF THE AUTOMATIC STAY

       41.     Denied. It is specifically denied that there are no applicable exceptions to the

automatic stay pursuant to 11 U.S.C. § 362(b). By way of further response, the allegations of

paragraph 41 contain conclusions of law to which no response is required. To the extent a response

is required, the allegations are denied and strict proof thereof is demanded at time of trial.

       42      (a).    Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraphs 42(a). The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

               (b)     Admitted.

               (c)     Denied as stated. The Sheriff denies any action or conduct taken implicated

the automatic stay.

               (d)     Denied. The allegations of paragraph 42(d) contain conclusions of law to

which no response is required. To the extent a response is required, the allegations are denied and

strict proof thereof is demanded at time of trial.

               (e)     Denied. The allegations of paragraph 42(e) contain conclusions of law to

which no response is required. To the extent a response is required, the allegations are denied and

strict proof thereof is demanded at time of trial.




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      V.      ENFORCEMENT OF THE ORDER, INJUNCTIONS AND/OR RULES

       43(a) – (c).    Denied. The allegations of paragraphs 43(a) through (c) contain conclusions

of law to which no response is required. To the extent a response is required, the allegations are

denied and strict proof thereof is demanded at time of trial.

                                           VI.   DAMAGES

       44(a) – (f).    Denied. The allegations of paragraphs 44(a) through (f) contain conclusions

of law to which no response is required. To the extent a response is required, the allegations are

denied and strict proof thereof is demanded at time of trial.

       WHEREFORE, the Sheriff demands that the relief sought by the Debtor in the Adversary

Complaint be denied, that judgment be entered in favor of the Sheriff and that the Court grant such

other relief as the Court deems just and proper.

                                  AFFIRMATIVE DEFENSES

       The Sheriff, by way of further response to the Adversary Complaint, hereby pleads the

following affirmative defenses:

       1.      The Adversary Complaint fails to state a cause of action upon which relief can be

granted.

       2.      The Sheriff did not violate the automatic stay pursuant to 11 U.S.C. § 362(a).

       3.      The Sheriff’s actions fall under one or more exceptions to the automatic stay

pursuant to 11 U.S.C. § 362(b).

       4.      Execution of a writ of possession is a ministerial act that does not implicate the

automatic stay of 11 U.S.C. § 362(a).

       5.       The Sheriff is entitled to quasi-judicial immunity from suit for actions taken to

enforce a facially valid order of court.




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       6.        Punitive damages cannot be awarded against the Sheriff pursuant to 11 U.S.C. §

106(a)(3).

       7.        Emotional distress damages cannot be awarded against the Sheriff pursuant to 11

U.S.C. § 106(a)(5) and the Pennsylvania Political Subdivision Tort Claims Act, 42 Pa.C.S.A.

§8541, et seq.

       WHEREFORE, the Sheriff demands that the relief sought by the Debtor in the Adversary

Complaint be denied, that judgment be entered in favor of the Sheriff and that the Court grant such

other relief as the Court deems just and proper.




                                              Respectfully submitted,


                                              THE CITY OF PHILADELPHIA
Dated: July 19, 2018                  By:      /s/ Megan N. Harper
                                              MEGAN N. HARPER
                                              Deputy City Solicitor
                                              PA Attorney I.D. 81669
                                              Attorney for the City of Philadelphia
                                              City of Philadelphia Law
                                              Municipal Services Building
                                              1401 JFK Boulevard, 5th Floor
                                              Philadelphia, PA 19102-1595
                                              215-686-0503 (phone)
                                              Email: Megan.Harper@phila.gov




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Lyndel Toppin                             :
146 S. 62nd Street                        :
Philadelphia, PA 19139                    :     CHAPTER 13
                                          :
        Debtor.                           :     Case No. 18-13098-MDC
_____________________________________________________________________________
                                          :
Lyndel Toppin                             :
        Debtor/Plaintiff                  :
v.                                        :     Adv. Proc. No. 18-00137-MDC
                                          :
Jewell Williams                           :
Sheriff of the City of Philadelphia       :
In his official capacity                  :
Land Title Building - Fifth Floor         :
100 South Broad Street                    :
Philadelphia, PA 19110                    :
        Defendant.                        :
and,                                      :
                                          :
Abdeldayem Hassan a/k/a Abdeldyem Hassan  :
309 Barker Avenue                         :
Lansdowne, PA 19050                       :
        Defendant.                        :

  SECOND AMENDED COMPLAINT CONCERNING WILLFUL VIOLATIONS OF THE
   AUTOMATIC STAY AND IN THE ALTERNATIVE, CONTEMPT BY DEFENDANTS
   SHERIFF OF THE CITY OF PHILADELPHIA AND ABDELDAYEM HASSAN A/K/A
                           ABDELDYEM HASSAN

       TO THE HONORABLE BANKRUPTCY JUDGE: MAGDELINE D. COLEMAN:

       Mr. Toppin is a debtor in the above-stated bankruptcy and the Plaintiff in this adversary

proceeding. Defendant, Sheriff of the City of Philadelphia was included in Mr. Toppin’s bankruptcy

and provided copious bankruptcy notice on at least 12 occasions by postal mail; facsimile; and

telephone. Defendant, Abdeldayem Hassan a/k/a Abdeldyem Hassan was also provided bankruptcy

notice by postal mail and telephone.

Mr. Toppin was and is protected against Defendants employment of process to recover a claim




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against the debtor that arose before the commencement of this case due to the power of the

automatic stay. Yet, more than six weeks after it was placed on notice and knowledge of, Mr.

Toppin’s bankruptcy, Defendants continue to employ process by sending armed Philadelphia

Sheriff’s to the debtor’s personal residence on six (“6”) separate occasions in direct contravention of

11 U.S.C. § 362(a), (the automatic stay) and with the express orders of this court.

       Mr. Toppin filed a Chapter 13 bankruptcy on May 8, 2018 at 6.04 PM and immediately

notified the Defendants. Despite copious notice, the Defendants continued their enforcement of the

pre-petition judgment by visiting the debtor’s personal residence on May 18, 2018; May 24, 2018;

and May 30, 2018 in order to post humiliating bright red “Notices to Vacate,” on Mr. Toppin’s

front door; and again on June 1, 2018; June 5, 2018; and June 7, 2018 in order to post humiliating

bright red “Eviction Notices” on Mr. Toppin’s front door ordering Mr. Toppin to vacate the

premises no later than June 25, 2018 and informing Mr. Toppin that the Sheriff would be levying

any property located at 146 S. 62nd Street, Philadelphia, PA 19139 to satisfy the Judgement for

Possession. These actions were all in violation of the automatic stay, which goes into effect the

moment a bankruptcy petition is filed. The actions of the Defendants fall squarely within the

prohibitions of at least three subsections of 11 U.S.C. § 362(a) including:

          (1) the commencement or continuation, including the issuance or employment of process,
              of a judicial, administrative, or other proceeding against the debtor that was or could
              have been commenced before the commencement of the case under this title, or to
              recover a claim against the debtor that arose before the commencement of the case
              under this title;

          (2) the enforcement, against the debtor or against property of the estate, of a judgment
              obtained before the commencement of the case under this title;

          (3) any act to obtain possession of property of the estate or of property from the estate.




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                               I.        JURISDICTION AND VENUE

       1.      Jurisdiction is conferred on this Court pursuant to the provisions of Section 1334 of

Title 28 of the United States Code in that this proceeding arises in and is related to the above-

captioned Chapter 7 case under Title 11 of the United States Code.

       2.      This Court has both personal and subject matter jurisdiction to hear this case

pursuant to 28 U.S.C. § 1334 and 28 U.S.C. § 157(b)(2).

       3.      This matter is a core proceeding and therefore the Bankruptcy Court has jurisdiction

to enter a final order. However, in the unlikely event this case is determined to be a non-core

proceeding (which is denied by the Plaintiff) then and in that event the Plaintiff consents to the

entry of a final order by the Bankruptcy Judge.

       4.      Venue lies in this District pursuant to 28 U.S.C. § 1391(b).

                               II.       PARTIES

       5.      The Plaintiff in this case is a debtor under Chapter 13 of Title 11 of the United States

Code in case number 18-13098-MDC filed before this Court.

       6.      Defendant is the Sheriff of the City of Philadelphia (“Sheriff”) and is being sued in

that capacity. Defendant has an office located at Land Title Building - Fifth Floor, 100 South Broad

Street, Philadelphia, PA 19110.

       7.      Defendant Abdeldayem Hassan a/k/a Abdeldyem Hassan (“Hassan”) is an adult

individual residing at 309 Barker Avenue, Lansdowne, PA 19050.

                                  III.   FACTUAL ALLEGATIONS

       8.    Debtor owns and resides in his long-time home at 146 S. 62nd Street, Philadelphia, PA

19139 (the “Property”) and is the rightful owner of the property.

       9.    On or around April 14, 2015, the City of Philadelphia (the “City”) filed a Petition for a

Rule to Show Cause in the Court of Common Pleas seeking permission to sell Debtor’s interest in



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his home in satisfaction of alleged delinquent real estate taxes from 2012 through 2013 in a total

amount of $1,959.67, including claimed principal of $1,052.26, interest, penalty, attorney fees and

lien costs. (hereinafter “2015 City Tax Action”).

       10.   On or about April 28, 2015, the Court of Common Pleas for the City of Philadelphia

issued a Rule granting the City’s Petition to show cause why a Decree should not be entered

permitting the sale of the Property.

       11.   On or about August 20, 2015 the Court of Common Pleas for the City of Philadelphia

issued a Decree permitting the Property to be sold by the Sheriff.

       12.   The Philadelphia Sheriff’s Office sold the Property at a tax sale on or about October 5,

2017. See Ex. “A”.

       13.   Abdeldayem Hassan a/k/a Abdeldyem Hassan was the winning bidder for a bid of

$30,000.00. See Ex. “A”.

       14.   At the time of the sheriff sale, the approximate Fair Market Value of the Property was

between $90,0000 and $120,000.00. See Ex. “B1-B4”.

       15.   On or before November 3, 2017 Defendant Abdeldayem Hassan paid $27,000 to the

sheriff in addition to $3,000.00 which was paid by Abdeldayem Hassan at the time of the sale. See

Ex. “C”.

       16.   On November 10, 2017 Jewell Williams, Sheriff of the County of Philadelphia,

acknowledged a deed to Abdeldayem Hassan.

       17.   The Sheriff’s Deed was recorded on November 10, 2017.

       18.   Abdeldayem Hassan had no interest at all in Debtor’s interest in his home until the

Sherriff acknowledged the deed to him.




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       19.   After the Sheriff acknowledged the deed, Abdeldayem Hassan owned only a defeasible

title, subject to Mr. Toppin’s statutory right to redeem the Property and right to possession during

the redemption period.

       20.   Pursuant to 53 P.S. § 7293(a), Debtor’s right of redemption continued for 9 months

from November 10, 2017 and continued through August 10, 2018.

       21.   Debtor filed the instant bankruptcy on May 8, 2018. See Ex. “D”.

       22.   At no time prior to the filing of this Complaint did Abdeldayem Hassan have any right

to possession of the Property.

       23.   Notwithstanding Abdeldayem Hassan lack of any right to possession, he began making

unlawful demands that Mr. Toppin vacate the property.

       24.   On January 22, 2018, more than six months before Debtor’s right of redemption would

have expired under state law, had there been a valid sale and had Debtor not filed the instant

bankruptcy petition, Abdeldayem Hassan filed an ejectment lawsuit against Debtor. See Ex. “E”.

       25.   In its complaint in ejectment (“Ejectment Complaint”), Abdeldayem Hassan falsely

claimed Mr. Toppin had no right to possession of his home, and falsely claimed that Abdeldayem

Hassan was entitled to immediate possession of the Property.

       26.   At the time that Abdeldayem Hassan filed the Ejectment Complaint and throughout the

pendency of the lawsuit, Debtor retained the exclusive right of possession to his home and

Abdeldayem Hassan had no right to possession of the Property.      See Ex. “F”.

       27.   Abdeldayem Hassan, personally verified the false statements in the Ejectment

Complaint. See Ex. “F”.

       28.   The Ejectment Complaint failed to state that the Sheriff Sale in question had been a tax

sale, which gives rise to a nine-month right of redemption. The Ejectment Complaint also failed to




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provide the “abstract of title” that is required to maintain an ejectment action under Pennsylvania

law. See Ex. “F”.

       29.   After failing to properly serve the complaint in ejectment and failing to send a proper

Notice of Intention to take a default judgment Abdeldayem Hassan sought and obtained default

judgment in the Ejectment Action. See Ex. “G, H, I”.

       30.   The April 27, 2018 Order issuing the writ of possession was facially and fatally

defective for the reasons aforestated. This facially and fatally defective order deprived Mr. Toppin

of his procedural due process rights to notice and opportunity to be heard and deprived Mr. Toppin

of his property without substantive due process of law. See Ex. “J”.

       31.     On May 7, 2018 at 12.00 PM, Debtor’s Counsel and Debtor visited the Sheriff at 100

South Broad Street, 5th Floor, Philadelphia, PA and requested the contact information for

(“Hassan”) for the purposes of transmitting a Notice of Bankruptcy Case Filing. See Ex. “K”.

       32.   Debtor filed the instant bankruptcy On May 8, 2018.

       33.     On May 8, 2018 at 6.04 PM, Mr. Lyndel Toppin filed a Chapter 13 bankruptcy

petition in a matter styled In re: Toppin, E.A. Pa. Bankr. No. 18-13098-MDC. See Ex. “D”.

       34.     It is indisputable that on May 8, 2018, Debtor’s Counsel provided the Notice of

Bankruptcy Case Filing to Hassan at the mailing address provided by the Sheriff as well via text

message by converting the Notice of Bankruptcy Case Filing from PDF format into JPEG format

and transmitting to Hassan’s mobile phone which was also provided by the Sheriff. See Ex. “K”.

       35.     It is indisputable that on May 8, 2018 at 6.27 PM Debtor’s Counsel provided the

Notice of Bankruptcy Case Filing to the Sheriff via facsimile at 215-686-3555. See Ex. “L”.

       36.     It is indisputable that on May 8, 2018 at 6.28 PM Debtor’s Counsel provided the

Notice of Bankruptcy Case Filing to the Sheriff via facsimile at 215-686-3971. See Ex. “M”.

       37.     It is indisputable that on May 9, 2018 Debtor’s Counsel telephoned Sheriff at



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215-686-3565 and provided oral Notice of Bankruptcy Case Filing. See Ex. “N”.

       38.     It is indisputable that on May 10, 2018 at 11.28 AM Debtor’s Counsel provided the

Notice of Bankruptcy Case Filing to the Sheriff via facsimile at 215-686-3555. See Ex. “O”.

       39.     It is indisputable that on May 10, 2018 Debtor’s Counsel telephoned Sheriff at

215-686-3565 and provided oral Notice of Bankruptcy Case Filing. See Ex. “N”.

       40.     It is indisputable that on May 10, 2018 at 11.31 AM Debtor’s Counsel provided the

Notice of Bankruptcy Case Filing to the Sheriff via facsimile at 215-686-3555. See Ex. “P”.

       41.     It is indisputable that on May 15, 2018 Debtor’s Counsel telephoned Sheriff at

215-686-3565 on two separate occasions and provided oral Notice of Bankruptcy Case Filing. See

Ex. “N”.

       42.     It is indisputable that on May 31, 2018 that the Court served Official Form 309A -

Notice of Chapter 7 Bankruptcy Case -- No Proof of Claim Deadline on both Defendants at their

preferred mailing addresses. See Ex. “Q”.

       43.     It is indisputable that on June 5, 2018 Debtor’s Counsel telephoned Sheriff at

215-686-3565 and provided oral Notice of Bankruptcy Case Filing.

       44.     It is indisputable that on June 7, 2018 at 4.18 PM Debtor’s Counsel provided the

Notice of Bankruptcy Case Filing to the Sheriff via facsimile at 215-686-3555. See Ex. “R”.

       45.     It is indisputable that on June 7, 2018 Debtor’s Counsel telephoned Sheriff at

215-686-3565 and provided oral Notice of Bankruptcy Case Filing. See Ex. “N”.

       46.     It is indisputable that on June 15, 2018 Debtor’s Counsel telephoned Hassan and

provided oral Notice of Bankruptcy Case Filing. See Ex. “S”.

       47.     Despite ample notice of the underlying bankruptcy, Defendants continue to violate

the statutory injunction imposed by 11 U.S.C. § 362 on at least six (“6”) separate occasions. See Ex.

“T”, “U", “V”, “X”, “Y”, and “Z”.



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         48.   The automatic stay at 11 U.S.C. § 362(a) requires Defendants to take positive action

necessary to give effect to the automatic stay. No action is unacceptable; no action is action to

thwart the effectiveness of the automatic stay.

         49.   Part of what is stayed in 11 U.S.C. § 362 is "continuation." Certainly a suit for Writ

of Possession of Real Property is a judicial proceeding against the Debtor within the purview of §

362(a)(1). The Issuance of a Writ of Possession of Real Property is the enforcement, against the

Debtor, of a judgment obtained before the commencement of the bankruptcy case within the scope

of § 362(a)(2). The eviction of the Debtor from their residence is an act to take possession of

property of the estate, that is, to take possession of the Debtor’s possessory and leasehold interest in

the property, prohibited by § 362(a)(3).

         50.   Not only does the statutory language encompass the actions of the landlord

Defendant, but any remaining question or doubt as to the impropriety of the Defendant's conduct

has been dispelled by numerous court decisions proscribing this type of creditor action. These

decisions have upheld the rights of Debtors in the face of creditor violation of the automatic stay.

         51.   It is implied in § 362 that a creditor is under an obligation to maintain the status quo

as of the moment of the filing of the petition and to take whatever affirmative action is necessary to

do so.

         52.   The Defendants have done nothing to reverse their actions and restore the status quo.

         53.   Defendant, Hassan is the Creditor who is in the driver’s seat and very much controls

what is done thereafter if it chooses. If the "continuation" is to be stayed, Hassan cannot choose to

do nothing and pass the buck. Positive action on the part of the creditor is necessary so that

"continuation" may be stayed.

         54.   Defendant, Hassan could have stopped the continuing violations of the automatic

stay by dismissing the Writ of Possession of Real Property.



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       55.       Defendant, Hassan could have advised the Sheriff that until further notice by reason

of the automatic stay that the Writ of Possession of Real Property should be suspended.

       56.       Defendants passed the buck and failed to take positive actions in violation of the

automatic stay, 11 U.S.C. § 362.

       57.       There is a governmental interest in preventing the unique harm that occurs in regard

to violations of the Bankruptcy Code.

       58.       The Bankruptcy Code and the notices to Defendants, as stated above, place

Defendants on fair notice of the damages that may be imposed due to the violation of its orders and

injunctions, including the imposition of punitive damages.

       59.       The degree of reprehensibility of the collection practices and actions is high for the

reasons that (1) the financial vulnerability of the target, Mr. Toppin, is evident by his bankruptcy

filing, and (2) the harm is more than economic in nature. Core bankruptcy rights of Mr. Toppin have

been violated.

       60.       Mr. Toppin’s breathing spell has been thwarted. Should the collection practices and

actions of Defendants’ continue and/or succeed, the fresh start promised Mr. Toppin will be

imperiled.

       61.       The injury to Mr. Toppin, in terms of describing and understanding the full

consequences of violating the core bankruptcy rights of Mr. Toppin, is hard to detect.

       62.       The full monetary value of non-economic harm associated with the collection

practices and actions of Defendants’ are difficult to determine.

       63.       The resources necessary to police the conduct of Defendants’ and to prevent the

unique harm that has occurred post-petition are lacking on the part of Mr. Toppin.

       64.       The above-stated collection practices or actions of Defendants’ have resulted and are

resulting in a substantial amount of undue frustration, anxiety and mental anguish or distress on the



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part of Mr. Toppin, which is more than fleeting and inconsequential. The harm stated is

substantiated by the facts of this Complaint alone. Although not limited to the list below, the distress

has manifested itself as follows:

       A. Violation of the core bankruptcy rights and Constitutional rights.

       B. Headaches.

       C. Loss of sleep.

       D. Anxiety.

       E. Shock of conscience.

       F. Impaired enjoyment of life.

       G. A sense of dread.

       H. A sense of failure.

       I. A lack or diminution of self-worth.

       J. A significant amount of stress.

       K. Harassment.

       L. Distraction.

       M. A sense of embarrassment and discomfort that is greater than the general level of

   embarrassment and discomfort felt in filing bankruptcy or for the inability to pay a debt or bill.

                     IV.     WILLFUL VIOLATION OF THE AUTOMATIC STAY

       65.     The filing of the bankruptcy case of Mr. Toppin constitutes, and constituted, an order

for relief pursuant to 11 U.S.C. § 301(b). This includes the imposition of the automatic stay (which

is similar to an injunction issued by this Court) pursuant to 11 U.S.C. § 362(a). Therefore, the

actions or conduct of Defendants’ violated, or are violating, 11 U.S.C. § 362(a)(1), (3), (4), (5), and/

or (6), for which there is no exception to the automatic stay pursuant to 11 U.S.C. § 362(b).

       66.     As stated and demonstrated in the Facts, above:



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               a.     The eligibility of Mr. Toppin to be a debtor in bankruptcy is not in question.

               b.     His bankruptcy case is pending and his plan was submitted to the Court.

               c.     The automatic stay took effect immediately upon his file date and has

                      neither been terminated nor modified to permit the actions and conduct of

                      Defendants’ as complained herein.

               d.     The violations are willful for the reasons that (1) Defendants’ had notice and/

                      or knowledge of Mr. Toppin’s bankruptcy, and (2) the actions or conduct as

                      stated were, or are, intentional, whether or not there was, or is, a specific

                      intent to violate the automatic stay, or whether or not Defendants’ had a good

                      faith belief that it had a right to undertake the actions or conduct it has

                      actually undertaken.

               e.     Mr. Toppin suffered injury in fact as a result of the actions and conduct

                      stated for his core bankruptcy rights have been willfully violated.



        V.     ENFORCEMENT OF THE ORDER, INJUNCTIONS AND/OR RULES

       67.     Due to the conduct or action of Defendants, as described, it may become necessary

for this Court to take action to enforce the injunctions, orders and Bankruptcy Code provisions and

rules resulting from Mr. Toppin’s bankruptcy, including, but not limited to:

       a.      Finding Defendants’ in contempt for failing to abide by the orders, injunctions,

               Bankruptcy Code provisions and rules pursuant to 11 U.S.C. § 105;

       b.      Issuing any declaratory judgment to determine the threshold questions of law, facts,

       rights, claims, or debts of all parties to this adversary proceeding, the violations of

       Defendants, the jurisdiction of this Court and/or any actual controversy that may

       exist pursuant to 28 U.S.C. § 2201; and/or



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       c.     Issuing any further or more specific injunctions to better define or curtail the acts or

       conduct of Defendants in the future pursuant to 11 U.S.C. § 105.


                                        VI.     DAMAGES

       68.    Pursuant to 11 U.S.C. § 362(k)(1) and/or § 105 the causes of action stated above

mandate the imposition of actual damages, and the consideration of punitive damages, including:

       a.     Personal Actual Damages: Actual damages to cover the value of any loss, any

              out-of-pocket expenses or cost incurred, including the value of the personal time of

              Mr. Toppin in having to deal with the conduct and actions of Defendants, and in

              having to participate in this adversary proceeding.

       b.     Attorneys’ Fees And Expenses As Actual Damages: It was necessary to employ

              Stephen M. Dunne and his law firm, Dunne Law Offices, P.C., to represent Mr.

              Toppin in advising, preparing and participating in this adversary proceeding.

       c.     Emotional Injuries As Actual Damages: The actual manifestations suffered by

              Mr. Toppin are detailed above for which the Court should consider to determine the

              proper amount of actual damages to compensate for his emotional injuries.

       d.     Punitive Damages: Punitive damages should be awarded to Mr. Toppin for the

              reasons that:

              i.      Appropriateness Per The U.S. Supreme Court Standard: Per the

                      Supreme Court of the United States, an award of punitive damages is

                      appropriate for the reasons that: (1) Defendants have received fair notice of

                      the possibility of an award of punitive damages; (2) as evidenced by his

                      bankruptcy, the financial vulnerability of Mr. Toppin is evident; (3) the

                      harm or injury inflicted on Mr. Toppin is more than economic in nature; (4)

                      if the conduct or actions of Defendants are allowed to succeed, it would


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                         further imperil the fresh start of Mr. Toppin; (5) the injury in this case is

                         hard to detect; and/or (6) the monetary value of non-economic harm is

                         difficult to determine.


                  ii.    Appropriateness Per The 3rd Circuit Standard: The 3rd Circuit Court of


                         Appeals has stated that an egregious conduct standard is at least appropriate

                         or an award of punitive damages. The Court defines egregious as conduct

                         which was “reckless” or “callous” indifference to the federally protected

                         rights of others. The conduct and action of Defendants, as highlighted in the

                         Facts, is at least reckless in light of its knowledge of Mr. Toppin’s

                         bankruptcy. Any serious contest of this adversary proceeding

                         by Defendants should be considered callous.


        e.        Prejudgment Interest : Any award of damages should contain an award of

                  prejudgment interest.

        f.        Post Judgment Interest : Any judgment issued by this Court should allow for the

                  accrual of interest for any unpaid balance at the rate for federal judgments, as based

                  on the average prices of U.S. Government Securities per 28 U.S.C. § 1961.


        WHEREFORE, PREMISES CONSIDERED, it is the prayer of Mr. Toppin that the Court

will:

        1.        Find that Defendants violated one or more of the automatic stay provisions in the

underlying bankruptcy;

        2.        Find that the violations of the automatic stay by Defendants were or are willful and/

or intentional;

        3.        Enforce the orders, rules and injunctions of this Court or the Bankruptcy Code or


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Rules as necessary, including, but not limited to, a finding of contempt on the part of Defendants,

the issuance of any declaratory judgment, and/or the issuance of any injunction;

       4.      Sanction or award against Defendants all actual damages for all financial and non-

financial harm or injury incurred by Mr. Toppin;

       5.      Sanction or award against Defendants and to Mr. Toppin, and for the benefit of

Stephen M. Dunne, all of the attorneys’ fees, costs and expenses incurred with Stephen M. Dunne,

and the Dunne Law Offices, P.C., in representing Mr. Toppin in these matters;

       6.      Sanction or award against Defendants and to Mr. Toppin emotional distress damages;

       7.      Sanction or award against Defendants and to Mr. Toppin punitive damages;

       8.      Award prejudgment interest;

       9.      Award post judgment interest; and Grant any and all other relief in equity or in law to

which Mr. Toppin may be entitled.

                                                     Respectfully submitted:

Dated: October 24, 2018                              BY: /s/ Stephen M. Dunne
                                                     Stephen M. Dunne, Esquire
                                                     1515 Market Street, Suite. 1200
                                                     Philadelphia, PA 19102
                                                     (215) 551-7109 Phone
                                                     Fax: (215) 525-9721
                                                     Email: stephen@dunnelawoffices.com




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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

------------------------------------------------------x
In re:                                                :
                                                      :   Chapter 13
LYNDEL TOPPIN,                                        :
                                                      :   Bankruptcy No. 18-13098 (MDC)
                  Debtor.                             :
------------------------------------------------------x
------------------------------------------------------x
                                                      :
LYNDEL TOPPIN,                                        :
                                                      :   Adv. Pro. No. 18-00137 (MDC)
                  Plaintiff,                          :
                                                      :
                  v.                                  :
                                                      :
JEWELL WILLIAMS SHERIFF                               :
OF THE CITY OF PHILADELPHIA and :
ABDELDAYEM HASSAN a/k/a                               :
ABDELDYEM HASSAN,                                     :
                                                      :
                  Defendant                           :
------------------------------------------------------x

              ANSWER TO SECOND AMENDED COMPLAINT CONCERNING
                  WILLFUL VIOLATIONS OF THE AUTOMATIC STAY
              BY DEFENDANTS SHERIFFOF THE CITY OF PHILADELPHIA
               AND ABDELDAYEM HASSAN A/K/A ABDELDYEM HASSAN

        AND NOW COMES Jewell Williams, Sheriff of the City of Philadelphia (the “Sheriff”),

by and through his Counsel, Megan N. Harper, Deputy City Solicitor, to answer the Second

Amended Complaint Concerning Willful Violations of the Automatic Stay by Defendants Sheriff

of the City of Philadelphia and Abdeldayem Hassan a/k/a Abdeldyem Hassan (the “Adversary

Complaint”) filed by Lyndel Toppin (the “Debtor”). The Sheriff avers the following in support

thereof:

        The allegations set forth in the prefatory statement of the Adversary Complaint are do not

conform to Federal Rule of Civil Procedure 8(a)(2), made applicable to this Adversary Complaint




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pursuant to Federal Rule of Bankruptcy Procedure 7008, which requires a pleading to make a

“short and plain statement of the claim showing that the pleader is entitled to relief.” Moreover,

the prefatory statement conclusions of law to which no response is required. To the extent a

response is required, the allegations are denied and strict proof thereof is demanded at time of trial.

                                I.   JURISDICTION AND VENUE

        1.      Denied as stated. This proceeding does not arise and is not related to a Chapter 7

case under Title 11 of the United States Code.

        2.      Admitted in part. Denied in part. It is admitted only that this Court has subject

matter jurisdiction to hear this case pursuant to 28 U.S.C. § 1334 and 28 U.S.C. § 157(b)(2). It is

specifically denied that 28 U.S.C. § 1334 and 28 U.S.C. § 157(b)(2) grants the Court personal

jurisdiction.

        3.      Denied. The allegations of paragraph 3 are conclusions of law to which no response

is required. To the extent a response is required, the allegations are denied and strict proof thereof

is demanded at time of trial.

        4.      Denied. It is denied that venue lies in this Court pursuant to 28 U.S.C. § 1391(b).

                                         II.     PARTIES

        5.      Admitted.

        6.      Admitted.

        7.      Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 7. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.




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                               III.     FACTUAL ALLEGATIONS

       8.      Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 8. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       9.      Denied. It is specifically denied that the City filed a Petition for a Rule to Show

Cause seeking permission to sell the Debtor’s interest in his home. The allegations of paragraph 9

contain conclusions of law to which no response is required. To the extent a response is required,

the Sheriff is without sufficient information to admit or deny the allegations of paragraph 9. The

allegations are therefore denied and strict proof thereof is demanded at time of trial.

       10.     Admitted.

       11.     Admitted.

       12.     Admitted.

       13.     Admitted.

       14.     Denied. The allegations of paragraph 14 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

       15.     Admitted.

       16.     Denied. It is specifically denied that the deed was acknowledged on November 10,

2017. By way of further response, the deed was acknowledged on November 9, 2017.

       17.     Denied. It is specifically denied that the deed was recorded on November 10, 2017.

By way of further response, the deed was recorded on November 21, 2017.




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        18.    Denied. The allegations of paragraph 18 are directed to the co-defendant and

therefore no response is required. To the extent a response is required, the allegations are denied

and strict proof thereof is demanded at time of trial.

        19.    Denied. The allegations of paragraph 18 are directed to the co-defendant and

therefore no response is required. To the extent a response is required, the allegations are denied

and strict proof thereof is demanded at time of trial.

        20.    Denied. By way of further response, the deed was acknowledged on November 9,

2017.

        21.    Admitted.

        22.    Denied. The allegations of paragraph 22 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

        23.    Denied. The allegations of paragraph 23 are directed to the co-defendant and

therefore no response is required. To the extent a response is required, the Sheriff is without

sufficient information to admit or deny the allegations of paragraph 23. The allegations are

therefore denied and strict proof thereof is demanded at time of trial.

        24.    Denied. The allegations of paragraph 24 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

        25.    Denied. The allegations of paragraph 25 are directed to the co-defendant and

therefore no response is required. To the extent a response is required, the Sheriff is without

sufficient information to admit or deny the allegations of paragraph 25. The allegations are

therefore denied and strict proof thereof is demanded at time of trial.




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       26.     Denied. The allegations of paragraph 26 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

       27.     Denied. The allegations of paragraph 27 contain conclusions of law to which no

response is required. To the extent a response is required, the Sheriff is without sufficient

information to admit or deny the allegations of paragraph 27. The allegations are therefore denied

and strict proof thereof is demanded at time of trial.

       28.     Denied. The allegations of paragraph 28 contain conclusions of law to which no

response is required. To the extent a response is required, the Sheriff is without sufficient

information to admit or deny the allegations of paragraph 27. The allegations are therefore denied

and strict proof thereof is demanded at time of trial.

       29.     The allegations of paragraph 29contain conclusions of law to which no response is

required. To the extent a response is required, the Sheriff is without sufficient information to admit

or deny the allegations of paragraph 29. The allegations are therefore denied and strict proof

thereof is demanded at time of trial.

       30.     The allegations of paragraph 30 contain conclusions of law to which no response is

required. To the extent a response is required, the Sheriff is without sufficient information to admit

or deny the allegations of paragraph 30. The allegations are therefore denied and strict proof

thereof is demanded at time of trial.

       31.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 31. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       32.     Admitted.




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       33.     Admitted.

       34.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 34. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       35.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 35. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       36.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 36. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       37.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 37. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       38.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 38. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       39.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 39. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       40.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 40. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.




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       41.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 41. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       42.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 42. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       43.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 43. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       44.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 44. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       45.     Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraph 45. The allegations are therefore denied and strict proof thereof is

demanded at time of trial.

       46.     Denied. The allegations of paragraph 46 are directed to the co-defendant and

therefore no response is required. To the extent a response is required, the Sheriff is without

sufficient information to admit or deny the allegations of paragraph 46. The allegations are

therefore denied and strict proof thereof is demanded at time of trial.

       47.     Denied. The allegations of paragraph 47 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.




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        48.      Denied. It is specifically denied that the automatic stay at 11 U.S.C. § 362(a)

required the Sheriff to take positive action necessary to give effect to the automatic stay. By way

of further response, the allegations of paragraph 48 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

        49.      Denied. It is specifically denied that the automatic stay at 11 U.S.C. § 362 stayed

the Issuance of a Writ of Possession of Real Property in this instance as the Writ was issued May

7, 2018, the day before the Debtor petitioned for Chapter 13 relief. By way of further response,

the allegations of paragraph 49 contain conclusions of law to which no response is required. To

the extent a response is required, the allegations are denied and strict proof thereof is demanded at

time of trial.

        50.      Denied. The allegations of paragraph 50 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

        51.      Denied. It is specifically denied that the Sheriff is a creditor of the Debtor. By way

of further response, the allegations of paragraph 51 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

        52.      Denied. It is specifically denied that the status quo has not been maintained or that

there was any action requiring reversal as the Debtor continues to reside at the Property.

        53.      Denied. The allegations of paragraph 53 are directed to the co-defendant and

therefore no response is required. To the extent a response is required, the Sheriff is without




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sufficient information to admit or deny the allegations of paragraph 53. The allegations are

therefore denied and strict proof thereof is demanded at time of trial.

       54.     Denied. The allegations of paragraph 54 are directed to the co-defendant and

therefore no response is required. To the extent a response is required, the Sheriff is without

sufficient information to admit or deny the allegations of paragraph 54. The allegations are

therefore denied and strict proof thereof is demanded at time of trial.

       55.     Denied. The allegations of paragraph 55 are directed to the co-defendant and

therefore no response is required. To the extent a response is required, the Sheriff is without

sufficient information to admit or deny the allegations of paragraph 55. The allegations are

therefore denied and strict proof thereof is demanded at time of trial.

       56.     Denied. The allegations of paragraph 56 contain opinion and conclusions of law to

which no response is required. To the extent a response is required, the allegations are denied and

strict proof thereof is demanded at time of trial.

       57.     Denied. The allegations of paragraph 57 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

       58.     Denied. The allegations of paragraph 58 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.

       59.     Denied. The allegations of paragraph 59 contain conclusions of law to which no

response is required. To the extent a response is required, the allegations are denied and strict proof

thereof is demanded at time of trial.




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       60.     Denied. The allegations of paragraph 60 contain a mix of opinion and conclusions

of law to which no response is required. To the extent a response is required, the allegations are

denied and strict proof thereof is demanded at time of trial.

       61.     Denied. The allegations of paragraph 61 contain a mix of opinion and conclusions

of law to which no response is required. To the extent a response is required, the allegations are

denied and strict proof thereof is demanded at time of trial.

       62.     Denied. The allegations of paragraph 62 contain a mix of opinion and conclusions

of law to which no response is required. To the extent a response is required, the allegations are

denied and strict proof thereof is demanded at time of trial.

       63.     Denied. The allegations of paragraph 63 contain a mix of opinion and conclusions

of law to which no response is required. To the extent a response is required, the allegations are

denied and strict proof thereof is demanded at time of trial.

       64(A) – (M). Denied. The allegations of paragraphs 40(A) through (M) contain

conclusions of law to which no response is required. To the extent a response is required, the

allegations are denied and strict proof thereof is demanded at time of trial.

               IV.     WILLFUL VIOLATION OF THE AUTOMATIC STAY

       65.     Denied. It is specifically denied that there are no applicable exceptions to the

automatic stay pursuant to 11 U.S.C. § 362(b). By way of further response, the allegations of

paragraph 65 contain conclusions of law to which no response is required. To the extent a response

is required, the allegations are denied and strict proof thereof is demanded at time of trial.

       66      (a).    Denied. The Sheriff is without sufficient information to admit or deny the

allegations of paragraphs 66(a). The allegations are therefore denied and strict proof thereof is

demanded at time of trial.




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               (b)     Admitted.

               (c)     Denied as stated. The Sheriff denies any action or conduct taken violated

the automatic stay.

               (d)     Denied. The allegations of paragraph 66(d) contain conclusions of law to

which no response is required. To the extent a response is required, the allegations are denied and

strict proof thereof is demanded at time of trial.

               (e)     Denied. The allegations of paragraph 66(e) contain conclusions of law to

which no response is required. To the extent a response is required, the allegations are denied and

strict proof thereof is demanded at time of trial.

      V.      ENFORCEMENT OF THE ORDER, INJUNCTIONS AND/OR RULES

       67(a) – (c).    Denied. The allegations of paragraphs 67(a) through (c) contain conclusions

of law to which no response is required. To the extent a response is required, the allegations are

denied and strict proof thereof is demanded at time of trial.

                                        VI.     DAMAGES

       68(a) – (f).    Denied. The allegations of paragraphs 68(a) through (f) contain conclusions

of law to which no response is required. To the extent a response is required, the allegations are

denied and strict proof thereof is demanded at time of trial.

       WHEREFORE, the Sheriff demands that the relief sought by the Debtor in the Adversary

Complaint be denied, that judgment be entered in favor of the Sheriff and that the Court grant such

other relief as the Court deems just and proper.

                                   AFFIRMATIVE DEFENSES

       The Sheriff, by way of further response to the Adversary Complaint, hereby pleads the

following affirmative defenses:




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       1.        The Adversary Complaint fails to state a cause of action upon which relief can be

granted.

       2.        The Sheriff did not violate the automatic stay pursuant to 11 U.S.C. § 362(a).

       3.        The Sheriff’s actions fall under one or more exceptions to the automatic stay.

       4.        Execution of a writ of possession is a ministerial act that does not violate the

automatic stay of 11 U.S.C. § 362(a).

       5.        The Sheriff is entitled to quasi-judicial immunity from suit for actions taken to

enforce a facially valid order of court.

       6.        Punitive damages cannot be awarded against the Sheriff pursuant to 11 U.S.C. §

106(a)(3).

       7.        Emotional distress damages cannot be awarded against the Sheriff pursuant to 11

U.S.C. § 106(a)(5) and the Pennsylvania Political Subdivision Tort Claims Act, 42 Pa.C.S.A.

§8541, et seq.

       WHEREFORE, the Sheriff demands that the relief sought by the Debtor in the Adversary

Complaint be denied, that judgment be entered in favor of the Sheriff and that the Court grant such

other relief as the Court deems just and proper.

                                               Respectfully submitted,

                                               THE CITY OF PHILADELPHIA

Dated: November 21, 2018                By:     /s/ Megan N. Harper
                                               MEGAN N. HARPER
                                               Deputy City Solicitor
                                               PA Attorney I.D. 81669
                                               Attorney for the City of Philadelphia
                                               Municipal Services Building
                                               1401 JFK Boulevard, 5th Floor
                                               Philadelphia, PA 19102-1595
                                               215-686-0503 (phone)
                                               Email: Megan.Harper@phila.gov




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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

------------------------------------------------------x
In re:                                                :
                                                      :   Chapter 13
LYNDEL TOPPIN,                                        :
                                                      :   Bankruptcy No. 18-13098 (MDC)
                  Debtor.                             :
------------------------------------------------------x
------------------------------------------------------x
                                                      :
LYNDEL TOPPIN,                                        :
                                                      :   Adv. Pro. No. 18-00137 (MDC)
                  Plaintiff,                          :
                                                      :
                  v.                                  :
                                                      :
JEWELL WILLIAMS SHERIFF                               :
OF THE CITY OF PHILADELPHIA and :
ABDELDAYEM HASSAN a/k/a                               :
ABDELDYEM HASSAN,                                     :
                                                      :
                  Defendant                           :
------------------------------------------------------x

                                      CERTIFICATE OF SERVICE

         I, Megan N. Harper, do certify that on November 21, 2018, I caused a true and correct copy

of the Sheriff of the City of Philadelphia’s Answer to Second Amended Complaint Concerning

Willful Violations of the Automatic Stay by Defendants Sheriff of the City of Philadelphia and

Abdeldayem Hassan a/k/a Abdeldyem Hassan to be served CM/ECF filing upon the parties listed

below:

                                         Stephen M. Dunne, Esquire
                                             515 Market Street
                                                 Suite 1200
                                           Philadelphia, PA 19102

                                           David M. Offen, Esquire
                                             The Curtis Center
                                             601 Walnut Street




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                             Philadelphia, PA 19106




                                    THE CITY OF PHILADELPHIA


Dated: November 21, 2018      By:    /s/ Megan N. Harper
                                    MEGAN N. HARPER
                                    Deputy City Solicitor
                                    PA Attorney I.D. 81669
                                    City of Philadelphia Law Department
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